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BEVERLEY MCGREW WALKER

D|STR!CT CLERK
FORT BEND COU NTY, TEXAS

 

March 20, 2019

TO: ZA|DA VlLLEGAS
GAULT NYE & QU|NTANA
4141 S STAPLES ST
CORPUS CHR|ST| TX 78411

Re: Cause No. 19-DCV-258995 240TH JUD|C|AL DlSTR|CT COURT
QURBAN MOM|N, ‘(ASM|N MOM!N VS OCC|DENTAL FlRE & CASUALTY
COMPANY OF NORTH CAROL|NA

Dear ZA|DA VlLLEGAS:

P|ease fund enclosed the foliowing:

CERTIF|ED COP|ES OF THE ENT|RE CASE F|LE 19-0€\!-258995 - MOM|N.

D!STR|CT CLERK BEVERLEY MCGREW WALKER
FORT BEND COUNTY, TEXAS

B,,, @r:¢ M“A

Deputy D|'str(ct C|erk Joyce Walshak
Te|ephcne: (281) 341-4464

 

EXHIB|T
Physical Address mt 5 WWW-f°"tbe“dc Un - OV Mai|ing Address
1422 Eugene Heimann circre, Room 31004 PhOn€= (281) 341-4509 301 Jackson street

Richmond, Texas 77469 FaXl (231) 341-4519 Richmond, Texas 77469

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Dis!rl`¢l Cl€rk

Fort Bend County, Texas
James Burnett

mst m w

QURBAN MOMIN,
YASMIN MOMIN,

IN THE DISTRICT COURT

Plaina]_‘i‘"s,

vs. FORT BEND COUNTY, TEXAS

OCCII)ENTAL FIRE & CASUAL']`Y

COMPANY OF NORTH CAROLINA’ Fort Bend County - 240th Jud icia| District Court

JUDICIAL DISTRICT

mw¢mmmm%obemmw¢m

De;fendant.

PLAINTIFFS’ ORIGINAL PETITION
TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, QURBAN MOMlN and YASMIN MOMIN (the “MOMINS” andfor
“Plaintiffs”), and complains of OCCIDENTAL FIRE & CASUALTY COMPANY OF NORTH
CAROLINA (“OCCIDENTAL” and/‘or “Dofendant”). In support of such claims and causes of
action, PlaintiH`s respectfully show unto this Honorable Ceurt and Jury as follows:

I. DISCOVERY C()NTROL PLAN

 

l.l Diseovery in this case should be conducted in accordance with a Level 3 tailored
discovery control plan pursuant to 'I`exas Rule of Civi] Procedure 190.4. PlaintiH`s affirmatively

plead this suit is not governed by the expedited-actions process in Texas Rule of Civil Procedure

169, as Plaintifl`s seek monetary relief over $100,000.
ll. PARTIES

2.1 Plainti_ffs, QURBAN MOMIN and YASMIN MOMIN, are residents of Fort Bend

County, Texas.

2.2 Defendant, OCCIDENTAL FlRE & CASUALTY COMPANY OF NORTH

CAROLINA, is a foreign company engaged in the business of insurance in this state. lt may be

 

PLAINTIFFS’ ORIGINAL PETITION mae _i_

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served with process by serving its registered agent, CT Corporalion System, by certified mail,
return receipt requested, at 1999 Bryan Street, Suite 900, Dallas, Texas 75201-3136, or wherever
it may be found PlaintiiTs request citation be issued and E-served to Plaintiffs' attorney’s oHice
at this time if possible; or mailed back to Plaintiffs' attomey’s office if not.

III. JURISDICTION AND VENUE

3.1 This Court has jurisdiction over this case in that the amount in controversy
exceeds the minimum jurisdictional limits of this Court.

3.2 Venue is proper in Fort Bend County, Texas, because all or a substantial part of
the events giving rise to the lawsuit occurred in this county, and the insured property that is the
basis of this lawsuit is located in Fort Bend County, Texas.

IV. AGENCY ANI) RESPONDE_;Q SUPEBLOR

4.1 Whenever in this Petition it is alleged that Defendant did any act or thing, it is
meant that Defendant or its agents, oft`rcers, servants, employees, or representatives did such a
thing. It was also done with the full authorization or ratification of Defendant or done in the
normal routine, course and scope of the agency or employment of Defendant or its agents,
officers, servants, employees, or representatives

V. CONDITIONS PRECEI)ENT

5.1 A]l conditions precedent to recovery have been performed, waived, or have
Occurtred.

VI. FACTS APPLICABLE TO ALL COUNTS

6.1 The MOMINS are the owners of a Texas Homeowner’s Policy number
'I'XHI 13670 501 issued by OCCIDENTAL (the “Pclicy”).

6.2 The MOMINS own the insured property, which is specifically located at 638

High Meadows Drive, Sugar Land, TX 774'?9(thc “Property”).

 

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6.3 OCCIDENTAL, or its agent(s), sold the Policy, insuring and covering the
Property against damages from storm-related events, to Plaintiff`s.

6.4 On or about May 23, 2017, the MOMINS experienced a stonn(s) that damaged
the Property. In its track, the storm(s) left behind widespread damage to the Property, Plaintiff`s’
home.

6.5 'Ihe MOMINS timely submitted a claim to OCCIDENTAL. OCCIDENTAL
assigned various adjusters to adjust the claim. However, OCCIDENTAL and its agents were not
diligent in investigating Plaintift`s’ loss. OCCIDENTAL failed to timely and accurately
investigate the covered loss. OCCIDENTAL assigned claim number 136705379722 to the
MOMI'NS’ claim.

6.6 Ultimately, OCCIDEN'I`AL, inspected the MOMINS’ property after the storm(s).
During the inspection, OCCIDENTAL, was tasked with the responsibility of conducting a
thorough and reasonable investigation of the MOMINS’ claim, including determining the cause
ot`, and then quantifying the damage done to the MOMINS’ horne.

6.'7 OCCIDEN'I`AL prepared a repair estimate which did not account for all of the
covered damages Further, even the damages that were accounted for were vastly under-scoped.
Thus, Defendant OCCI DENTAL demonstrated it did not conduct a thorough investigation of the
claim.

6.8 Defendant OCCIDENTAL failed to fairly evaluate and adjust the MOMINS’
claim as they are obligated to do under the Policy and Texas law. By failing to properly
investigate the claim and wrongfully denying full coverage to the MOMINS, OCCIDENTAL
engaged in unfair settlement practices by misrepresenting material facts to the MOMINS.

6.9 Defendant OCCIDENTAL failed to perform its contractual duty to adequately

compensate the MOMINS under the terms of the Policy. Spccit`rcally, Defendant

 

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OCCIDENTAL failed and refused to properly pay proceeds for the Policy, although due demand
was made for proceeds to be paid in an amount sufficient to cover the damaged property, and all
conditions precedent to recovery upon the Policy had been carried out and accomplished by the
MOMINS. Defendant OCCIDENTAL’s conduct constitutes a material breach of the insurance
contractl

6.10 Defendant OCCIDENTAL misrepresented to the MOMINS that the damage to
the Property was not covered under the Policy, even though the damage was caused by a covered
perii. Defendant’s conduct constitutes a violation of the Unfair Settlement Practices specified in
Tex. Ins. Code § 541.060(a)(1).

6.11 Defendant OCCIDENTAL’s repair estimate under-scoped the covered damages
and misrepresented the benefits under the Policy, which promised to pay the amount of loss to
the MOMINS. Defendant’s conduct constitutes a violation of the Misrepreserrtation Regarding
Policy or Insurer section specified in Tex. Ins. Code § 541.051(1)(B).

6. 12 Defendant OCCIDENTAL failed to make an attempt to settle the MOMINS'
claims in a prompt and fair manner, although they were aware of its liability to the MOMINS
was reasonably clear under the Policy. Defendant’s conduct constitutes a violation of the Unfair
Settlement Practices specified in Tex. lns. Code § 541.()60(a)(2)(A).

6.13 Defendant OCCIDENTA_L failed to explain to the MOMINS why lilll payment
was not being made. Furthermore, Defendant did not communicate that future payments would
be forthcoming to pay for the entire losses covered under the Policy, nor did Defendant provide
any explanation for the failure to adequately settle the MOMINS’ claims, in violation of Tex.
Ins. Code § 541.060(a)(3).

6.14 Defendant OCCIDENTAL failed to affirm or deny coverage of the MOMINS’

claim within a reasonable time. Specifically, the MOMINS did not receive timely indication of

 

PLA[N']_`]IFFS’ ORIGINAL PETITION PAGE .4w

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acceptance or rejection, regarding the firl] and entire claim, in writing from Defendants.
Defendant’s conduct constitutes a violation of the Unfair Settlement Practices specified in Tex.
lns. Code § 541.060(a)(4).

6.15 Defendant OCCIDENTAL retirsed to fully compensate the MOMINS under the
terms of the Policy, even though Defendant failed to conduct a reasonable investigation
Specifically, Defendant OCCIDENTAL performed a results!outcome-oriented investigation of
Plaintiff`s’ claim, which resulted in a biased, unfair and inequitable evaluation of the MOMINS'
losses to the Property. Defendant’s conduct constitutes a violation of the Unfair Settlernent
Practices specified in Tex. lns. Code § 541.060(a)(7).

6.16 Defendant OCCIDENTAL misrepresented the insurance policy sold to the
MOMINS by (1) making an untrue statement of material fact regarding coverage; (2) failing to
state a material fact necessary to make other statements made not misleading considering the
circumstances under which the statements were made; (3) making a statement in a manner that
would mislead a reasonably prudent person to a false conclusion of a material fact regarding
coverage; (4) making a material misstatement of law; andfor (5) failing to disclose a matter
required by law to be disclosed, including failing to make a disclosure in accordance with
another provision of the Texas Insurance Code, in violation of Section 541.061 of the same.

6.17 Defendant OCCIDENTAL failed to meet its obligation under the Texas lnsurance
Code regarding timely acknowledging Plaintif`f`s’ claim, beginning an investigation of the
MOMINS’ claim, and requesting all information reasonably necessary to investigate the
MOMINS’ claim within the statutorily mandated deadline. Defendant’s conduct constitutes a
violation of the Prompt Payment of Claims subchapter specified in Tex. Ins. Code § 542.055.

6. 18 Defendant OCCIDENTAL failed to accept or deny the MOMINS’ full and entire

claim within the statutory mandated deadline of receiving all necessary information.

 

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Defendant’s conduct constitutes a violation of the Prompt Payment of Clairns subchapter
specified in Tex. lns. Code § 542.056.

6.19 Defendant OCCIDEN'I`AL failed to meet its obligations under the 'l`exas
Insurance Code regarding payment of claims without delay. Specifically, Defendant has delayed
full payment of Plaintiffs’ claim longer than allowed and, to date, the MOMINS have not yet
received full payment for their claim. Defendant’s conduct constitutes a violation of the Prompt
Payment of Claims subchapter specified in Tex. Ins. Code § 542.058.

6.20 From the point in time the MOMINS’ claim was presented to Defendant
OCCIDENTAL, the liability of Defendant to pay the full claim in accordance with the terms of
the Poiicy was reasonably clear. However, Defendant OCCIDENTAL has refused to pay the
MOMl'NS in full, despite there being no basis whatsoever on which a reasonable insurance
company would have relied to deny the hill payment Defendant’s conduct constitutes a breach
of the common law duty of good faith and fair dealing.

6.21 As a result of Defendant’s wrongful acts and omissions, the MOMINS were
forced to retain the professional services of the attorney and law firm who are representing the
MOMINS with respect to these causes of action. On or about .Tuly 18, 2018, the MOMTNS’
counsel sent a letter of representation requesting various documents related to the storm(s),
including a certified true copy of the complete policy covering the property on the date of loss,
with all endorsements

6..'22 On or about August 15, 2018, the MOMINS’ counsel sent a Texas Insurance
Code 542A Notice and Texas Deceptive 'I`rade Practices Act (“DTPA”) Demand letter to the
Defendant The letter gave Defendant a statement of the acts or omissions giving rise to the
claim and included the specific amount alleged to be owed by the insurer on the claim for

damage to or loss of a covered property, as well as the amount of reasonable and necessary

 

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attomey’s fees incurred by Plaintiffs as of the date of the Notice. The letter also informed
Defendant of potential violations under the DTPA and Insurance Code related to its handling and
adjusting of Plaintiffs’ claim and potential claims, including attorney’s fees, statutory penalty
interest, and additional damages arising from those violations. The Noticc and Demand letter
provided Defendant with the statutorily mandated sixty days to respond, and an opportunity to
resolve the claim without extended litigation costs. Defendant acknowledged the letter of
representation six months later on lanuary 9, 2019, however, never acknowledged the DTPA and
Insurance Code; satisfying the sixty-one day statutory notice requirement, as well as the statutory
requirement that Defendants either deny a DTPA and Insurance Code Demand or be allotted a
sixty-day time period to attempt to resolve the claim before a Petition is to be tiled.

6.23 To date, Defendant OCCIDENTAL has failed to and refused to pay the MOM[NS
for the proper repair of the property The MOMINS’ experience is not an isolated case. The acts
and omissions of Defendants committed in this case, or similar acts and omissions, occur with
such frequency that they constitute a general business practice of Defendants with regard to
handling this type of claim. Defendants’ entire process is unfairly designed to reach favorable
outcomes for the company at the expense of the policyholder.

VII. COUNTS

7.1 Plaintiffs incorporate by reference all facts, statements, and allegations set forth in
all previous paragraphs, as if set forth in full in each cause of action that follows.

7.2 COUNT 1 - BREACH OF CONTRACT

a. At the time of the loss, Plaintiffs had valid, enforceable insurance contract
in place, issued by Defendant (the “Policy”). Plaintii`fs were the insureds of the contract

Plaintiifs fully performed their contractual obligations by making premium payments as

required by the insurance contract, and at all times complied iiil]y with all material

 

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provisions of the Policy.

b. According to the Policy that Plaintiffs purchased, Defendant
OCCIDENTA_I_, had the duty to investigate and pay Plaintiffs’ policy benefits for claims
made for covered damages, including additional benefits under the Policy, resulting from
the damages As a result of these damages, which result from covered perils under the
Policy, the Plaintiffs’ home has been damagedl

c. Defendant OCCIDENTAL’s failure to properly investigate and refusal, as
described above, to pay the adequate compensation as it is obligated to do under the
terms of the Policy in question and under the laws of the State of Texas, constitutes a
material breach of Defenth OCCIDENTAL’s contract with Plaintiffs. As a result of
this breach of contract, Plaintiffs have suffered the damages that are described in this
Petition, the producing cause of which is Defendant’s actions.

7.3 COUNT 2 - PROMPT PAYMENT OI" CLA[MS; VIOLATION OF TEXAS
INSURANCE CODE §542, ET SEQ.

a. Under the Texas lnsurance Code, Defendant OCCIDENTAL had a duty to
investigate and pay Plaintifl`s’ claim under the Policy in a timely manner. Defendant
OCCIDENTAL violated Chapter 542 of the Texas Insurance Code by not timely:
(1) commencing its investigation of the claim‘, (2) requesting information needed to
investigate the claim', (3) communicating with its insured regarding the status of its
investigation, including failing to accept or reject Plaintiffs’ claim in writing within the
statutory timeframe; (4) conducting its investigation of the claim', and (5) paying the
claim.

b. All of the above-described acts, omissions, and failures of Defendant are a

producing cause of Plaintiffs’ damages that are described in this Petition. Defendant

 

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OCCIDENTAL is therefore liable under Chapter 542 for penalty interest at the rate set
forth in the statute, and attorney’s fees taxed as costs of this suit.

c. Additionally, if it is determined Defendant OCCIDENTAL owes Plaintiffs
any additional money on Plaintiffs’ claim, then Defendant has automatically violated
Chapter 542 in this case.

7.4 COUNT 3 - UNFAIR INSURANCE PRAC'I`ICES; VIOLA'I`ION OF
TEXAS IN SURANCE CODE § 541, ET SEQ.

a. As an insurer, Defendant OCCIDENTAL owes statutory duties to
Plaintiffs as its insured Specifically, the 'l`exas Insurance Code prohibits Defendant
OCCIDENTAL from engaging in any unfair or deceptive act or practice in the business
of insurance.

b. By its acts, omissions, failures, and conduct, Defendant OCCIDENTAL
has engaged in unfair and deceptive acts or practices in the business of insurance in
violation of 541 of the Te)<as Insurance Code. Such violations include, without
limitation, all the conduct described in this Petition, plus Defendant’s unreasonable
delays and under-scoping in the investigation, adjustment, and resolution of the
Plaintiffs’ claim, plus Defendant’s failure to pay for the proper repair of the Plaintiffs’
home on which liability had become reasonably clear. They fin'ther include Defendant’s
failure to give Plaintiffs the benefit of the doubt. Specifically, Defendant OCCIDENTAL
are guilty ofthe following unfair insurance practices:

i. Misrepresenting to Plaintill"s pertinent facts or policy provisions
relating to the coverage at issue',

ii. Failing to attempt in good faith to effectuate a prompt, fair, and
equitable settlement of claim submitted in which liability had become reasonably

clear;

 

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iii. Failing to provide promptly to a policyholder a reasonable
explanation of the basis in the insurance policy in relation to the facts or

applicable law for the denial of a claim or for the offer of a company’s settlement;

iv. Failing to affirm or deny coverage of Plaintiffs’ claim within a
reasonable time;
v. Refusing to pay Plaintiifs’ claim without conducting a reasonable

investigation with respect to the claim', and

vi. Misrepresenting the insurance policy sold to Plaintiffs by (1)

making an untrue statement of material fact regarding coverage', (2) failing to
state a material fact necessary to make other statements made not misleading,
considering the circwnstances under which the statements were made; (3)
making a statement in a manner that would mislead a reasonably prudent person
to a false conclusion of a material fact regarding coverage; (4) making a material
misstatement of law', and!or (5) failing to disclose a matter required by law to be
disclosed, including failing to make a disclosure in accordance with another
provision of the Texas lnsurance Code.

c. Defendant OCCIDENTAL has also breached the Texas Insurance Code
when it breached its duty of good faith and fair dealing Defendant’s conduct as
described herein has resulted in Piainti[fs` damages that are described in this Petition.

d. All of the above-described acts, omissions, and failures of Defendant are a
producing cause of Plaintiffs’ damages that are described in this Petition, and were done

knowingly andfor intentionally as that tenn is used in the Texas Insurance Code.

 

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7.5 COUNT 4 - DTPA; VIOLATIONS OF TEXAS BUSINESS AND
COMIVIERCE CODE § 17.46, ET SEQ.

a. Plaintiffs are individuals who sought and acquired a good, the Policy that
is the subject of the suit, by purchase, from the Defendantl They also sought and
acquired the service and adjustment of claims under that policy, a service that was
“furnished in connection with the sale or repair of goods”, as defined by the DTPA. This
qualifies Plaintiffs as consumers of goods and services provided by Defendant as defined
by the Texas Deceptive Trade Practices Act (“D'I`PA”), codified under Chapter 17 of the
Texas Business and Commerce Code. The P]aintiffs have met all conditions precedent to
bringing this cause of action against Defendants. Specifically, Defendant’s violations of
the DTPA include without limitation, the following matters

b. By its acts, omissions, failures, and conduct that are described in this
Petition, Defendant OCC]DENTAL has connnitted false, misleading, or deceptive acts or
practices in violation of § 17.46(13)(2), (3), (5), (‘?), (ll), (12), (]3), (20), and (24) of the
DTPA. In this respect, Defendant’s violations include without limitation:

i. Unreasonable delays in the investigation, adjustment and
resolution of Plaintiffs’ claim, during which Defendant employed a series of
alleged “independent adjusters” under the control of Defendant, that caused
confusion to Plaintiifs as to whom was representing whom, and had whose best
interests in mind. "I“nis gives Plaintiffs the right to recover under Section
17.46(b)(2) and (3) of the DTP A;

ii. As described in this Petition, Defendant represented to Plaintiffs
that the insurance policy and Defendant’s adjusting and investigative services had
characteristics uses, or benefits that it did not have, which gives Plaintiffs the

right tc recover under Section 17.46(b)(5) of the DTPA;

 

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iii. As described in this Petition, Defendant represented to Plaintiffs
that the insurance policy and Defendant’s adjusting and investigative services
were of a particular standard, quality, or grade when they were of another in
violation of Section 1'?.46(b)(7} of the DTPA;

iv. As described in this Petition, Defendant represented to Plaintift`s
that the insurance policy7 and Defendant’s adjusting and investigative services
conferred or involved rights, remedies, or obligations that it did not have, which
gives Plaintiti`s the right to recover under Section 17.46(b)(12) of the DTPA;

v. Defendant knowingly made false or misleading statements of fact
concerning the need for replacement of roofing systems, which gives Plaintiit`s the
right to recover under Section 17.46(b)(13) of the DTPA;

vi. Defendant breached an express and f or implied warranty that the
damage caused by the subject storrn(s) would be covered under the insurance
policies. This entitles the Plaintiffs to recover under Sections 17.46(b)(12) and
(20) and 17.50(a)(2) ofthe DTPA;

vii. Defendant failed to disclose information concerning the insurance
policy which was known at the time of the transaction where the failure to
disclose such information was intended to induce the Plaintiff`s into a transaction
into which the Plaintifl"`s would not have entered had the information been
disclosed This gives Plaintift`s the right to recover under Section 17.46(13)(24) of
the DTPA',

viii. Defendant’s actions, as described in this Petition, are

unconscionable in that it took advantage of Plaintit`t`s’ lack of knowledge, ability,

 

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and experience to a grossly unfair degree Defendant’s unconscionable conduct
gives Plaintiffs the right to relief under Section 17.50(a)(3) of the DTPA; and

ix. Defendant’s conduct, acts, omissions, and failures as described in
this Petition, are unfair practices in the business of insurance in violation of

Section 17.50(a)(4) of the DTPA, under which violations of Chapter 541 of the

Texas Insurance Code are an enabling statute.

c. All of the above-described acts, omissions, and failures of Defendant are a
producing cause of Plaintiffs’ damages that are described in this Petition. All of the
above-described acts, omissions, and failures of Defendant were done knowingly and
intentionally, as those terms are used and defined in the Texas Deceptive Trade Practices
Act.

7.6 COUNT 5 - BREACH OF DUTY OF GOOD FAI'I`H AND FAJR DEALING

a. By its acts, omissions, failures, and conduct, Defendant has breached its
common law duty of good faith and fair dealing by failing to pay the proper amounts on
Plaintiffs’ entire claim without any reasonable basis, and by failing to conduct a
reasonable investigation to determine whether there was a reasonable basis for this
denial. Defendant has also breached this duty by unreasonably delaying payment of
Plaintift`s’ entire claim, and by failing to settle Plaintiffs’ entire claim because Defendant
knew or should have known that it was reasonably clear that the claim was covered.
These acts, omissions, failures, and conduct ot` Defendant are a proximate cause of
Plaintiffs’ damagesl
7.7 COUNT 6 - MISREPRESENTATION

a_ Defendant OCCIDENTAL is liable to Plaintifl"s under the theories of

intentional misrepresentation, or in the alternative, negligent misrepresentation

 

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Defendant OCCIDENTAI_. did not inform Plaintifl`s of certain exclusions in the policy.
Misrepresentations were made by Defendant OCCIDEN'I`AL or its agents, with the
intention that they should be relied upon and acted upon by Plaintiffs, who relied on the
misrepresentations to their detriment As a result, Plaintiffs have suffered damages,
including but not limited to loss of the Property, loss of use of the Property, mental
anguish and attorney’s fees. Defendant OCCIDENTAL is liable for these actual
consequential and penalty-based damages.
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8.1 Defendant is waived and is estopped from asserting any coverage defenses,
conditions, exclusions, or exceptions to coverage not contained in any reservation of rights letter
to the Plaintiffs.

lX. DAMAGES l CLAIMS FOR RELIEF

9.1 All the damages described and sought in this Petition are within the jurisdictional
limits of the Court and exceed an aggregate amount of monetary relief over $100,000 but not
more than $200,000.

9.2 The above described acts, cmissions, failures, and conduct of Defendants caused
Plaintiffs’ damages, which include, without limitation, (1) the cost to properly repair Plaintiffs’
home, (2) any investigative and engineering fees incurred by Plaintitfs, (3) court costs, and (4)
attorney’s fees. The P]aintiffs are entitled to recover consequential damages from Defendants’
breach of contract. The Plaintiffs are also entitled to recover the amount of Plaintiffs’ claim plus
interest on the amount of the claim, under Chapter 542 of the Texas Insurance Code, as damages
each year at the rate determined on the date of judgment by adding five percent to the interest
rate determined under Section 304.003 of the Texas Finance Code, accruing beginning on the

date the claim was required to be paid. This interest is in addition to prejudgment interest

 

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9.3 Defendant has also “knowingly” and “intentionally” committed deceptive trade
practices and unfair insurance practices as those terms are defined in the applicable statutes
Because of Defendant’s knowing and intentional misconduct Plaintiffs are entitled to additional
damages as authorized by Section 17.50(b)(1) of the DTPA, which allows recovery of up to three
times economic damages Where there is an enabling statute for the D'I'PA, as there is here with
the Texas lnsurance Code, Plaintiffs are entitled to recovery of up to three times actual damages
Pla.intiffs are further entitled to the additional damages that are authorized by Chapter 541 of the
Texas lnsurance Code.

9.4 Defendant’s breach of its duty of good faith and fair dealing owed to Plaintiffs
was done intentionally, with a conscious indifference to the rights and welfare of Plaintifl`s, as
defined in Chapter 41 of the Texas Civil Practice and Remedies Code. These violations by
Defendant are the type of conduct which the State of Texas protects its citizens against by the
imposition of exemplary damages, Therefore, Plaintiffs seek the recovery of exemplary damages
in the amount to be determined by the finder of fact that is sufficient to punish Defendant for its
wrongful conduct and to set an example to deter Defendant and others similarly situated B‘om
committing similar acts in the future.

X. A'I`TORNEY’S FEES

10.1 As a result of Defendant’s conduct that is described in this Petition, Plaintiffs
have been forced to retain the undersigned law firm and attorney to prosecute this action, and has
agreed to pay reasonable attorney’s fees. Plaintiffs are entitled to recover these attorney’s fees
under Chapter 38 of the Texas Civil Practice and Remedies Code, Chapters 541 and 542 of the

Texas lnsurance Code, and Section 17.50 of the DTPA.

 

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XI. DISCOVERY

 

11.1 Under Texas Rule of Civil Procedure 194, the Defendant is requested to disclose
within fifty (50) days of service of this request, the information of material described in 'I`exas
Ru]e of CiviI Procedure l94.2(a) through (l). Plaintiffs’ Requests for Diselosure, Requests for
Produetion, lnterrogatories, and Requests for Admissions are attached, for service at the time of
service of this Petition, and incorporated herein by reference

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12.1 Plaintiffs demand a jury trial and tenders the appropriate fee with this Petition.
XIII. PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintif`fs QURBAN MOMIN and
YASMIN MOMIN pray that Defendant OCCIDENTAL FIRE & CASUAL”I`Y COMPANY OF
NORTH CAROLINA be cited to appear and answer herein, and that upon trial hereof, said
Plaintiff`s have and recover such sums as would reasonany and justly compensate Plaintiffs in
accordance with the rules of law and procedure, as to economic damages, actual damages,
consequential damages, statutory penalty interest treble damages under the 'I`exas Deceptive
Trade Practices Act and Texas lnsurance Code, and all punitive and exemplary damages as may
be found. In addition, Plaintif`r`s request the award of attorney’s fees for the trial and any appeal
of this case, for all costs of court, for prejudgment and post-judgment interest, at the highest rate
allowed by Iaw, and for any other and further relief, at law or in equity, to which Plaintif`fs may
show themselves to be justly entitled.

Respectt`ully submitted,

THE CORONA. LAW FIRM, PLLC

By: fsi Jesse S. Corona

Jesse S. Corona

 

PLAINT]]"`FS’ ORIGINAL PETITION PAGE -16t

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’I`exas Bar No. 24082184

Southern District Bar No. 2239270
1280'7 Haynes Road, Bldg E
Houston, Texas 77066

Office: (281) 882-3531
Facsimile: (713) 678-0613
Jesse@theCoronaLawfirm.com

ATTORNEY FOR PLAINTIFFS

 

PLAINT]IFFS’ ORIGINAL PETITION PAGE -l 7-

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PLAINTIFFS’ REQUESTS F()R DISCLOSURE
TO DEFENDANT, OCCIDENTAL FIRE & CASUALTY COMPANY OF NORTH
CAROLINA

TO: OCCIDEN'I`AL FlRE & CASUALTY COMPANY OF NORTH CAROLINA, Defendant

Pursuant to Rule 194, you are requested to disclose, within tidy (50) days of service of
this request, the information requested below.

Respectfully submitted,

THE CORONA LAW FlRM, PLLC

By: fsi Jesse S. Corona

Jesse S. Corona

Texas Bar No. 24082184

Southern District Bar No. 2239270
12807 Haynes Road, Bldg E
Houston, Texas 77066

Off`lce: 281.882.3531

Facsimile; 713.678.0613
Jesse@theCoronaLawfinn.com

ATTORNEY FOR PLAINTIFFS

REQUESTS FOR DISCLOSURE TO DEFENDANT

RE§ !UEST FOR DISCLOSURE 194. 21 al: The correct names of the parties to the lawsuit

RESPONSE:

RE§}UEST FOR DISCLOSURE 194.2{§): Name, address, and telephone number of any

potential parties
RESPONSE:

RFAZUES'I` FOR DISCLOSURE 194.2{¢:}: The legal theories and, in general, the factual bases

of the responding party’s claims or defenses (the responding party need not marshal all evidence
that may be offered at trial).
RESPONSE:

REQUEST FOR DISCLOSURE 194.2(d): The amount and any method of calculating

economic damages,
RESPONSE:

 

PLA]'NTIFF S’ REQU'EST FOR D[SCLOSURE PAGE -l 8»

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RE§!UEST FOR DISCLOSURE 194.2{e}: The name, address, and telephone number of

persons having knowledge of relevant facts, and a brief statement of each identified person’s
connection with the case.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2§!:]: For any testifying expert:

l) the expert’s name, address, and telephone number',

2) the subject matter on which the expert will testify;

3) the general substance of the expert’s mental impressions and opinions and a brief
summary of the basis for them, or if the expert is not retained by, employed by, or
otherwise subject to the control of the responding party, documents reflecting such
infonnation',

4) if the expert is retained by, employed by, or otherwise subject to the control of the
responding party:

A. all documents, tangible things, reports, models, or data compilations that have
been provided to, reviewed by, or prepared by or for the expert in anticipation
of the expert’s testimony; and

B. the expert’s current resume and bibliography.
RESPONSE:

fig !UEST FOR DISCLOSURE 194.2§2}: Any indenmity and insuring agreements described
in Rule l92.3(f).

RESPON SE:

REQUEST FOR DISCLOSURE 194.2[§): Any settlement agreements described in Rule
192.3(g).

RESPONSE:

RE§!UEST FOR DISCLOSURE 194.2{i]: Any witness statements described in rule 192.3(h).
RESPONSE:

REOUEST FOR DISCLOSURE 194.2§|`}: In a suit alleging physical or mental injury and
damages from occurrence that is the subject of case, all medical records and bills that are
reasonably related to the injuries or damages asserted or in lieu thereof, an authorization

permitting the disclosure of such medical records and bills.
RESPONSE:

R§QUEST FOR DISCLOSURE 194.2§|_£): In a suit alleging physical or mental injury and

damages from occurrence that is the subject of case, all medical records and bills obtained by the
responding party by virtue of an authorization furnished by the requesting party.
RESPONSE:

REQUEST FOR DISCLOSURE 194.2§!1: The name, address and telephone number of any

person who may be designated as a responsible third party.
RESPONSE:

 

PLAINT]FFS’ REQUEST FOR DISCLOSURE PAGE -l 9-

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PLAlNTIFFS’ FIRST REQUEST FOR PRODUC'I`ION

TO DEFENDANT, OCCIDENTAL FIRE & CASUALTY COMPANY OF NORTH
CAROLINA

TO: OCCIDENTAL FlRE & CASUALTY COMPA_NY OF NORTH CAROLINA, Defendant

COME NOW, QURBAN MOMIN and YASMIN MOMIN, Plaintiffs in the above styled
and numbered cause, and requires that OCCIDENTAL FIRE & CASUALTY COMPANY OF
NORTH CAROLINA, Defendant, answer the following Requests for Production pursuant to
Rule 196.3 of the Texas Rules of Civil Procedure, and Plaintiifs requires that answers to same
and copies of the original documents be served upon THE CORONA LAW FIR_M, PLLC.
Pursuant to Rule 196.3, the documents must be produced as they are kept in the usual course of
business, or organized and labeled to correspond to the requests for production Pursuant to Rule
196.2, a Response to these Requests shall be served within fifty (50) days after receipt of the
Requests.

Respectfully submitted,

THE CORONA LAW FIRM, PLLC

By: fsi Jesse S. Corona

Jesse S. Corona

Texas Bar No. 240 821 84

Southern District Bar No. 2239270
12807 Haynes Road, Bldg E
Houston, Texas 77066

Oflice: 281.882.3531

Facsimile: 713.678.0613
Jesse@theCoronaLawflrm.com

ATTORNEY FOR PLAINTIFFS
INSTRUCT IONS AND DEFINITIONS

1. Pursuant to the provisions of TEX. R. CIV. P. 196, you are hereby requested to
produce the below designated documents.

The following terms shall have the meaning indicated below:

a. “Person” means natural persons, corporations, partnerships, sole proprietorships,
unions, associations, or any other kind of entity or its agents, servants and employees
b. “Document” means any printed, typewritten, mechanically or otherwise recorded
matter of whatever character including but not without limitation, letters, purchase
orders, memoranda telegrams, notes, catalogues, brochures, diaries, reports,
calendars, inter- and intra-office communications, statement, investigative reports,

 

PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION PAGE -20-

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announcements, depositions answers to interrogatories7 pleadings judgments
newspaper articles photographs tape recordings motion pictures and any carbon or
photographic copies of any such material if you do not have custody or control of the
original; and anything else in writing If any document requested to be identified
was, but is no longer in your possession or control or is no longer in existence, state
whether it is (1) missing or lost; (2) destroyed', (3) transferred voluntarily or
involuntarily to others, and if so, to whom, or (4) otherwise disposed ot`, and in each
instance explain the circumstances surrounding an authorization of such disposition
thereof`, state the approximate date thereof and describe its contents

c. “You” and “Your” shall mean the party to whom these questions are directed as well
as agents, employees attorneys investigators and all other persons acting for said
Paf'tY-

d. “Misconduet” is defined as an activity, act, or omission to act which result in a breach
of warranty, express of implied, violation of any statute, regulation, or industry
standard, whether relating to safety or otherwise, or a breach of any duty of any care.

e. “Plajntif`f’ is defined as the party who is propounding these Interrogatories to you and
any of its agents, servants or employees

f. “Occurrence,” “collision," “incident" and/or “wreck” and!or the phrase “collision
made the basis of this suit” shall mean the aecident, event or happening as set forth in
the Plaintiff’ s petition complaint that has given rise to this lawsuitl

g. When asked to “describe” a document, state the title, subject matter, author, date,
addressee, file designation and other identifying designation and the present locations
and custodian of the document

h. The term “statement” includes any written statements signed or otherwise adopted or
approved by the person making it, and any stenographic, mechanical, electrical,
magnetic, or other recording, or a transcription thereof, which is a substantially
verbatim recital of an oral statement by the person making it and contemporaneously
recorded, or statements as are defmed in Texa.s Rule of Civil Procedure 192.3(11).

i. “Mobile device” means cellular telephone, smartphone, satellite telephone, pager,
personal digital assistant (“PDA”), iPad, Google 'I`ablet or any such similar device.

j. As used herein, the term “information” should be construed in the broad sense. It
includes reference to both facts and applicable principles. This word should not be
construed to be limited by any method of acquisition or compilation and, therefore,
includes oral information as well as documents

k. As used herein, the terms “identify” andfor “identity” mean to provide the following:
(1) With regard to natural persons, state the narne, last known telephone number and
last known address of the person; the name, address and telephone number of the
employer of such person', if "you" have a business relationship, direct or indirect with
such person, or his employer, state the nature of such business relationship; (2)
With respect to any entity, which is not a natural person, state the name, telephone
number and last known address of such entity; state the nature of such entity; and if
"You“ have any business relationship with such entity, either direct or indirect, state
the nature of such relationship.

l. The term “communication” means any oral or written utterance, notation, or
statement of any nature whatsoever, by and to whomsoever made, including,
correspondence conversations dialogues, discussions interviews consultations
agreements and other understandings among two or more persons

 

PLAINTIFFS’ FIRS']_` REQUEST FOR PRODUCTION PAGE -21-

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m. The tenn “or” and the term “and” means the term both “or” and “and” in both
conjunctive and disjunctive

n. The term of` any singular form of a term shall include the plural, and the use of a
plural form of a term shall include the singular.

PRIVILEGED OR PR()PRIETARY DOCUMENTS
2. If any document requested is withheld on the basis of any claim of privilege, you
are hereby requested to produce a privilege log in compliance with the Texas Rules of Civil
Procedure within 15 days of service of your responses containing the below infonnation:

a. Identifying the person or persons who prepared or authored the document and, if

applicable, the person or persons to whom the document was sent or shown',

Specif`ying the date on which the document was prepared or transmitted;

ldentifying the subject matter of the document;

Describing the nature of the document (e.g., letter, tel egram, etc, );

Stating the number of pages, attachments and appendices',

Stating the identity of each person who had access to, custody of`, and who received a

copy of the document',

Identifying the present custodian',

Stating the reason why the document was not produced;

1. Stating briefly why the document is claimed to be privileged or to constitute work
product; and

j. Identifying the paragraph of this request to which the document relates

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3. If any document relates in any way to a meeting or to any conversation, all
participants in the meeting or conversation are to be identified

EL TTRON CALLY STORED IN ORMATION

4. For electronically stored information please produce, no later than the date of the
commencement of the document production, a discovery log that details the type of infomiation,
the source of` information, the discovery request to which the information corresponds, and the
information’s electronic ID number. Write all the electronically stored information to a
reasonably usable storage media, such as a CD, DVD, or F lash Drive.

5. For electronically stored information, identify every source containing potentially
responsive information that You are not searching or producing

LOST OR DESTROYED DOCUN[ENTS

6. If any document requested has been lost, discarded, or destroyed, you are
requested to submit a written statement no later than the date of the commencement of the
document production, identifying as completely as possible each such document so lost,
discarded or destroyed. Identification of each such document shall include the date of disposal,
manner of disposal, reason for disposal, persons authorizing the disposal, persons having
knowledge of the disposal and persons disposing of the company

PRESERVATION OF EVIDENCE

 

PLAINTIF'F S’ FIRST REQUEST FOR PRODUCTION PAGE -22-

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7. IT IS REQUESTED THAT ALL DOCUMENTS AND;‘OR OTHER DATA
COMPILATIONS WHICH MIGHT IMPACT ON THE SUBJECT MATTER OF THIS
LITIGATION BE PRESERVED AND THAT A.NY ONGOING PROCESS OF DOCUMENT
DESTRUCTION INVOLV ING SUCH DOCUMENTS CEASE.

DUTY TO SUPPLEMENT RESPONSES

8. Please be further advised that pursuant to Rule 193.5 of the Texas Rules of Civil
Procedure, you have a duty to supplement your answers to these Requests for Production
reasonably promptly after you discover the necessity of` supplementationl Such supplemental
responses are to be filed and served upon this party immediately upon receipt of such
information Pursuant to Rule 193.6 of the Texas Rules of Civil Procedure, should you fail to
properly supplement your answers, the Court may forbid you from introducing into evidence the
material or information that was not timely disclosed, or from offering testimony of a witness
who was not timely identified If individuals with knowledge of relevant facts come to your
attention after serving answers to these Requests for Production, or if any such individuals,
employees, or agents of the Defendant change employment or move before trial, Plaintiff`
requests that to be timely informed of` such developments

FIRST REQUEST FOR PRODUCTION

REOUES'I` FOR PRODUCTION NO. 1: The insurance policy in effect on the date of
Plaintif’f`s’ claims(s) making the basis of this suit.
RESPONSE:

REOUEST FOR PRODUC'I`ION NO. gi The entire claims investigation files generated and
maintained by Defendant in the ordinary course of business pertaining to Plaintiffs’ claim(s)
making the basis of this lawsuit

RESPONSE:

REOUEST FOR PRODUCTION NO. 3: All training and educational materials which instruct
claims adjusters or claims handlers in handling claims for coverage for property damage,
hurricane damage, hail, water damage, roof and!or wind damage under Defendant’s

homeowners’ insurance policies in Texas. This request is limited to the last five (5) years.
RESPONSE:

REOUEST FOR PRO])UCTION NO. 4: All training and educational materials which instruct
claims adjusters or claims handlers in handling claims for coverage for property damage,
hurricane damage, hail, water damage, roof and»’or wind damage under Defendant’s

homeowners’ insurance policies in Texas. This request is limited to the last five (5) years.
RESPONSE:

REQUEST FOR PRODUCTION NO. S: All procedure or policy manuals or guides meant to

guide and assist Defendant’s claims adjusters or claims handlers in handling claims for property
damage, including the criteria for and the process for evaluating whether coverage exists under
Defendant’s homeowners’ insurance policies in Texas. This request is limited to the last five (5)
years.

 

PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION PAGE »23-

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RESPONSE:

REQUEST FOR PRODUCTION l\`O. 6: All procedure or policy manuals or guides meant to
guide and assist Defendant’s claims adjusters or claims handlers in handling claims for property
damage, hurricane damage, hail, water damage, roof damages, and!or wind damage to the house,
including the criteria, for and the process for, evaluating whether coverage exists under
Defendant’s homeowners insurance policies in Texas. This request is limited to the last five (5)
years.

RESPONSE:

BEQUEST FQR PRODUC‘TION NO. 7: All communications and documents including

electronic between Defendant and Plaintii`fs regarding Plaiutif`fs’ claim(s).
RESPONSE:

RE§!UEST FOR PRODUCTION NO. 8: All communications and documents, including

electronic, between Defendant and any third party regarding Plaintiffs’ claim(s).
RESPONSE:

RE§!UEST FOR PRODUCTION NO. 9: All communications and documents, including

electronic, between Defendant and any other Defendant(s) regarding Plaintiff" s claim(s).
RESPONSE:

REOUEST F()R PRODUCTION NO. 10: All communications and documents, including
electronic, between Defendant’s business departments, including all persons part of the

Defendant company, regarding Plaintiff" s claim(s).
M<_)nsn

REQUEST FOR PRODUCTION NO. 11: All communications and documents Defendant sent

to any other Defendant(s) in this cause of action regarding Plaintiff or the property, after
Plaintiff" s claim(s) for coverage
RESPONSE:

BE_QUEST EQR PROQUCTION NO. 12: All photographs, diagrams, drawings, or other

graphic depictions of Plaintiff or the Property made the basis of this lawsuit.
RESPONSE:

R§!UEST FOR PRODUCTION NO. 13: Any and all documents, reports, data, emails, notes,

photos, videos, manuals, guides, and summaries regarding the insurance claim(s) made the basis
of this lawsuitl

RESPONSE:

REOUEST FOR PRODUC'TION NO. 14: All reports and other documents from
governmental agencies or offices regarding Plaintiff"s Property or containing officially kept
information regarding Plaintiff’s property.

RESPONSE:

REQUEST FOR PRODUCTION NO. 15: Any and all claim(s) files and claim reports,

including but not limited to notes, emails, data, photos, videos, manuals, guides, summaries and

 

PI,AIN']_`]IF'FS’ FIRS'I` REQUEST FOR PRODUCTIO`N PAGE -24-

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claim documents, regarding all homeowner insurance claims made by Plaintif`f under Plaintiff"s
homeowner insurance policytpolicies with Defendant, specifically regarding damage to the
exterior and interior of Plaintiff’ s Property. This request is limited to the last ten (10) years.
RESPONSE:

REUEST FOR PRODUCTION NO. 16: Any and all records and!or documents explaining

criteria utilized to qualify vendors for the “approved vendors list."
RESPONSE:

REQUEST FOR PROI]UCTION NO. 17: Any and all records andfor documents maintained
by person(s) responsible for maintaining and updating the “approved vendors list.”

RESPONSE:

B§QUEST FOR PRODUCTION NO. 18: Any and all records andfor documents maintained

by person(s) responsible for creating the criteria utilized to qualify vendors, including contractors
and roofing companies, for the “approved vendors list.”
RESPONSE:

REOUEST FOR PRODUCTION NO. 19: All documents, including reports, estimates, data,
emails, testing, sampling, videos, and photographs received by Defendant regarding inspections
of Plaintif`f" s Property made the basis of this lawsuit

M
REQUEST FOR PRODUCTI()N NO. 20: Any and all records Defendant received, including

those obtained by way of deposition by written questions, regarding Plaintif`f’ s Property made the
basis of this lawsuit

RESPONSE:

REQQEST FOB PROI)U§:|:!ON NO. 21: Any and all records or documents Defendant has

reviewed andfor obtained regarding Plaintiff" s Property made the basis of this lawsuitl
RESPONSE:

REQ[§EST FOR PRODUCTION NO. 22: Any and all claim files Defendant has reviewed

auditor obtained regarding Plaintiff"s Property made the basis of this lawsuit
RESPONSE:

RYUEST FOR PRODUCTION NO. 23: Any and all claim files Defendant has reviewed

andfor obtained regarding Plaintif`f" s Property made the basis of this lawsuit.
M

REOUEST F()R PROI)UCTION NO. li All bulletins or other communications received
from the Texas Department of Insurance, the Texas lnsurance Commissioner, or their agents,
regarding practices in the handling of` claims for property damage under Defendant’s homeowner

insurance policies in Texas. This request is limited to the last five (5) years.
RESPONSE:

RE§ !UEST FOR PRODUCTION NO. 25: All bulletins or other communications received

from the Texas Departmeirt of Insurance, the Texas lnsurance Commissioner, or their agents,

 

PLAINTIFFS’ FIRST REQU'ES']_` FOR PRODUCTION PAGE -25-

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regarding practices in the handling of claims for property damage, hurricane damage, hail, water
damage, hail damage, roof damages, and!or wind damage under homeowner insurance policies
in Texas. This request is limited to the last five (5) years.

RESPONSE:

RYUEST FOR PRODUCTION NO. 26: All materials meant to instruct and guide claims
adjusters under Texas law andfor company policy with regard to unfair claims settlement

practices, unfair claims handling practices, standards to be met in adjusting or handling
Defendant’s first party insurance claims, or avoiding charges of bad faith. This request is limited
to the last five (5) years.

ESPONSE'
REQUEST FOR PRODUCTlON NO. 272 All materials meant to instruct and guide

Defendant’s claims adjuster under Texas law andfor company policy with regard to
understanding and complying with the Texas lnsurance Code § 541.06 and;’or Article 21.2].
This request is specifically limited to the last five (5) years.

RESPONSE:

RM!UEST FOR PRODUCTION NO. 28: All materials meant to instruct and guide

Defendant’s claims adjusters under Texas law andfor company policy with regard to
understanding and complying with the Texas lnsurance Code § 542.(]55 et seq. andfor Article

21.55. This request is specifically limited to the last five (5) years
RESPONSE:

RM!UEST FOR PRODUCTION NO. 292 Any and all materials, documents, statements

andfor files that demonstrate Defendant’s net worth and Defendant’s net income. This request is
limited to the last five (5) years.
M

RH!UEST FOR PRODUC’I`ION NO. 30: Any and all materials, documents, statements

andior files that reflect complaints andfor lawsuits filed by insured against Defendant regarding

the handing, review andfor adjusting of homeowner insurance claims in "l`exas. This request is
limited to the last five (5) years.
RESPONSE:

RE§!UEST FOR PRODUCTION NO. 31: A copy of each advertisement Defenth has used,
published and!or distributed, through any means, in Texas. This request is limited to the last five
(5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 32_: Any and all materials, handouts, manuals, outlines,
articles and/lor documents used or relied upon by Defendant to conduct any seminars andlor
continuing education classes for Defendant’s employees andior independent adjusters, regarding
the adjusting andfor handling of homeowner insurance claims, commercial insurance claims, and
property damage claims, hurricane claims, water damage claims, roof damage claims, andfor

wind damage claims in Texas. This request is limited to the last five (5) years.
RESPONSE:

 

PLAINT]'FFS’ F[RST RE,QUEST FOR PRODUCTION PAGE -26-

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RM}UEST FOR PRODUCTION NO. 33: Any and all materials, handouts, manuals, outlines,

articles andfor documents issued by Defendant to claims representatives andfor adjusters, or
received by claims representatives and)'or adjusters, or relied upon by claims representatives
andfor adjusters, pertaining to the adjusting andfor handling of homeowner insurance claims,
commercial insurance claims, property damage claims, hurricane claims, water damage claims,
roof damage claims, andfor wind damage claims in Texas. This request is limited to the last five
(5) years.

RESPONSE:

REOUEST F()R PRODUCTION NO. IH Any and all reference materials, handouts,
manuals, outlines, articles, and)“or documents distributed andfor disbursed to Defendant’s
employer, employees, agents, and!or representatives in connection with attendance at seminars
and!or continuing education classes regarding the adjusting andfor handling of homeowner
insurance claims., commercial insurance claims, and property damage, hurricane claims, hail,
water damage, roof damage claims andr‘or wind damage claims in Texas, within the last five (5)

years.
RESPONSE:

REOUEST FOR PRODUCTION NO. 35: Any and all materials reflecting Defendant’s
attendance policies for adjusters and claims representatives at seminars and/‘or continuing
education classes regarding the adjusting andfor handling of homeowner insurance claims,
commercial insurance claims, property damage claims, hunicane claims, water damage claims,
roof damage claims, and/or wind damage claims in Texas. This request is limited to the last five
(5) years.

RESPONSE:

REQUES'I` FOR PRODUCTION NO. 36: Any and all materials, documents, files, andfor

reports sent to Defendant by its employer, employees, agents, andfor representatives on a
monthiy, weekly, or daily basis regarding Plaintif`f" s claim(s). Include any and all field notes and
summaries of the room-by-room scope of Plaintiff’s Property made the basis of this lawsuit
RESPONSE:

REQUE§§T FOR PRQDUCTION NO. 37: Any and all materials, documents, files, andfor

reports containing list(s) of contractors and)’or roofing companies that have been approved and!or
recommended for performance of services for Defendant in Texas, specifically related to
homeowner insurance claims. This request is limited to the last five (5) years.

RESPONSE:

RM !UEST FOR PRODUCTION NO. 38: Any and all computer programs, electronic data,

documents, and!or manuals used by the adjusters and claims representatives to perform property
damage estimates relating to homeowner insurance claims in Texas, including a complete copy

of the computer program used to adjust Plaintiff’ s claim(s). This request is limited to the last
five (5) years.

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REOUEST FOR PRODUCTION NO. § Any and all reference materiais, handouts,
manuals, outlines, articles, andfor documents that have been distributed by auditor disbursed to
Defendant regarding the price estimates of contractors and changes of those estimates within

 

PLAINTI`FFS’ FlRS'l` REQUEST FOR PRODUCTION PAGE -2?-

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different geographical areas of the State of Texas. This request is limited to the last five (5)
years
mm

RH!UEST FOR PRODUCTION NO. 4{}: Any and all materials, documents, files and/or

reports of contractors and roofing companies that have been approved and!or recommended for
performance of` services for Defendant in Texas. This request is limited to the last five (5) years.
RESPONSE:

BQ!UEST FOR PRODUC'I`ION NO. 41: Any and all materials, documents, files, invoices,

andfor reports of any and all contractors and roofing companies retained to investigate, inspect,
andfor evaluate Plaintiff"s claim(s) made the basis of this lawsuit prepared on behalf of the
Defendant

M§Ea

REQUEST FOR PRODUCTION NO. 42: Any and all materials, documents, files, invoices,

andfor reports of any and all contractors and roofing companies retained to investigate, inspect,
and/or evaluate claims similar in nature to Plaintiff"s claim{s) asserted in this lawsuit, prepared
on behalf of Defendantl This request is limited to the State of Texas. This request is specifically
limited to the last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION NO. 4_3_: A complete copy of the entire personnel file(s) of
any and all adjusters assigned to Plaintiii"s claim(s) made the basis of` this lawsuit This request
is specifically limited to the last five (5) years.

RESPONSE:

RE§!UEST FOR PRO])UCTION NO. 44: The most recent address maintained on file for any

and all adjusters assigned to Plaintiff"s claim(s) made the basis of this lawsuit
M

REOUEST F(}R PRODUCTION NO. §§ Any and all documents andfor claim files for
persons or entities that have filed property damage, hurricane damage, hail, water damage, roof
damage, andfor wind damage claims that have been adjusted by any adjusters and/or adjusting
companies on behalf of Defendant

RESPONSE:

REOUEST FOR PRODUCTI(]N NO. 46: Any and all activity logs relating to Plaintif`f"s
claim(s) for property damage, hurricane damage, hail, water damage, roof damage, andlor wind

damage to Plaintiff"s property, and specifically, the claim(s) made the basis of this suit
RESPONSE:

REOUEST FOR PRODUCTION NO. 47: Any and all documents reflecting company
guidelines, procedures, or policies that serve as criteria for evaluating whether claims are

covered or excluded by any policy provisions Defendant contends applied to Plaintiff" s claim(s).
M

REOUEST FOR PRODUCTION NO. 48: Any and all organizational charts for Defendant

 

PLAH\}TIFFS’ F[RST REQUEST FOR PRODUCTION PAGE -28-

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RESPONSE:

REOUEST FOR PRODUCTION NO. 49: Any and all organizational charts or diagrams for

each department, unit, or section of Defendant to which Plaintiff’ s claim(s) was assigned
M

RE§!UEST FOR PRODUCTION NO. 50: Any and all charts or diagrams reflecting the chain

of command or supervisory hierarchy relating to each person involved in handling Plaintit`f’s
elairn(s).
RESPONSE:

REQUEST FOR PRODUCTION NO. 51: Any and all claim(s) and underwriting files for

each claim(s) involving property damage, hurricane damage, hail, water damage, roof damage,
and!or wind damage made against Defendant, investigated by any and all adjusters assigned to
Piaintiff’s claim(s) made the basis of this lawsuit in Texas. This request is limited to the last five
(5) ycars.

RESPONSE:

RE§ !UEST FOR PRODUCTION NO. 52: Any and all demand letters received by Defendant
after the handling of a claim involving property damage, hurricane damage, hail, water damage,

roof damage, andfor wind damage that was adjusted by any and all adjusters assigned to
Plaintiff" s claim made the basis of this lawsuit This request is limited to the last five (5) years.
M

RE§!UES'I` F()R PRODUCTION NO. 53: Any and all documents reflecting or relating to

Defendant’s decision to pay or deny additional expenses to or on behalf of Plaintiff in this case.
sw

BE§!UEST EQB PRO}!UCTION NO. 54: Any and all records reflecting payment to

Plaintiff’s claim(s) made the basis of this suit.
RESPONSE:

RE§ !UEST FOR PROQUCTION NO. 55: Any and all documents, including correspondence

and checks, exchanged between Defendant and any and all vendors concerning Plaintiff’s
claim(s).
RESPONSE:

REQUES'I` FOR PRODUCTION NO. 56: Any and all documents relating to or reflecting any
and all adjusters assigned to Plaintit`f’s claim(s) made the basis of this Lawsuit, from the time of
hiring through the presentl

RESPONSE:

RH !UEST FOR PRODUCTION NO. 57: Any and all documents relating to the assignment

of Plaintiff"s claim(s) to any and all adjusters assigned to Plaintiff’s claim(s) made the basis of`
this lawsuit, from the time of hiring through the present.
RESPONSE:

 

PLAIN`I`]FFS’ FIRST REQUEST FOR PRODUCTION PAGE -29~

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RE§!UEST FOR PRODUCTION NO. 58: Any and all documents relating to or reflecting

referrals of vendors to Plaintiff or any insured
BE.SM

RE,QUEST FOR PRODUCTION NO. 592 If you are withholding documents based upon the
assertion of a privilege, please produce a privilege log, detailing with reasonable particularity a

description of the documents withheld, the number of` documents, and the applicable privilege
which Defendant claims properly precludes the information discovery.
RESPONSE:

R]_MUEST FOR PRODUCTION NO. 60: Any and all advanced or specialized certifications

of personnel who inspected, investigated, andfor supervised the adjusting of the claim(s)
pertaining to the Property made the basis of this lawsuit
RESPONSE:

RE§!UEST FOR PRODUCTION NO. 61: Any and all documents, including contracts, rules,
guidelines and)'or instructions exchanged between Defendant, Plaintifi` and any and all adjusters

assigned to Plaintiff"s claim(s) made the basis of this Lawsuit, from the time of` hiring through
the present, and any other entities with whom Defendant worked or communicated regarding the
Property made the basis of this lawsuit.

Blism

REOUEST FOR PRODUCT]()N NO. 62_;_ All physical or tangible items andfor potentially
usable evidence obtained by, or on behalf of`, Defendant from the scene of` the occurrence made
the basis of this suit.

RESPONSE:

RM!UEST FOR PRODUCTION NO. 63: Any and all indemnity agreements between

Defendant and any other person, firm, or corporation against which a claim of indemnification
might be brought because of the facts in this lawsuit
RESPONSE:

RE§!UEST FOR PB()DUCTION NO. 64: Any and all complaint policies and procedures

regarding the handling by Defenth of complaints made by insured homeowners This request
is limited to the last five (5) years.
RESPONSE:

RM !UEST FOR PRODUCTION NO. 65: Copies of all job descriptions of employees that
adjusted or in any way supervised the handling of Plaintiff’s claim(s).
RESPONSE:

REOUEST FOR PRODUCTION NO. 66: All non-privileged e-mails regarding the

investigation, adj usting, andfor handling of the claim(s) made the basis of this lawsuit
RESPONSE:

RE§!UEST FOR PRODUCTION NO. 6’?: All e-mails between Defendant’s adjusters, agents,
supervisors, ofticers, and/for executives regarding changes in the educational programs relating to

 

PLA.INTIF`FS’ FIRST REQUEST F`OR PRODUCTION PAGE ~30-

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the handling of property damage, hurricane damage, hail, water damage, andfor roof damage
claimsl
RESPONSE:

RYUEST FOR PRO])UCTION NO. 68: All computer files, databases, electronically-stored

information or computer-stored information regarding the property damage, hurricane damage,
water damage andlor roof damage that have been compiled, prepared, andfor supervised by
Defendant, whether or not they are in Defendant’s possession or in the possession of another
entity.

RESPONSE:

RE§!UEST FOR PRODUCTION NO. 69: True and complete copies of all billing records

from any and all independent adjusters regarding the claim(s) made the basis of this lawsuit.
..R_EM.

R§ ZUEST FOR PRODUCTION NO. 70: True and complete copy of activity logs filed by

the staff and independent adjusters on the file pertaining to the olaims(s) made the basis of this
lawsuit

RESPONSE:

RYUEST FOR PRODUCTION NO. 71: Any and all reports, documents7 or correspondence

containing the names and locations of all adjusters who have worked on this file to the present
RESPONSE:

REQUEST FOR PRODUCTION N(). 72: True and complete copies of all billings on the file

from the independent adjusters, including the time sheets or documentation used to justify the
billings
saw

RMIUEST FOR PRODUCTION NO. 73: Any and all reports, documents or correspondence

reflecting the reserving and payment history of indemnity, expenses, and vendors on this file
including but not limited datcs, changes and requested made by the adjusters- This request is
limited to last five (5) years.

RESPONSE:

REOUEST FOR PRODUCTION ND. 74: Any and all lawsuit involving vendors, staff or
management involved with property claims, property damage, hurricane damage, hail, water
damage, roof damage, andfor wind damage claims from 2000 to presentl

RESPONSE:

REOUEST FOR PRODUCTION NO. 75: Any and all correspondence and lawsuits
concerning the issues of honesty, conflict of interest, criminal actions, past criminal record,
criminal conduct, fraud investigation and!or inappropriate behavior of any person associated with
thc handling of Defendant’s claim files, management of` property damage, hail, water damage,
roof damage and;'or wind damage claims, including staff and vendors

RESPONSE:

 

PLAINT]FFS’ FTRST REQUEST F`OR PRODUCTION PAGE -31-

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RE !UEST FOR PRQI_)UC‘]`I(_)N NO. 76: Any and all answers made in previous discovery
requests for lists or databases of property damage, hurricane damage, hail damage, water
damage, roof damage and/or wind damage.

RESPONSE:

RE§!UEST FOR PRODUCTION N(). 77: Any and all answers and affidavits made by
Defendant and its counsel in previous discovery requests for training procedures, and training
manuals for property damage, hurricane damage, hail damage, water damage, roof damage,
and!or wind damage claims.

RESPONSE:

REOUEST FOR PRODUCTIC)N NO. li"8: Any and all reports, documents or correspondence
reflecting the history of payment and reserves on this file.
RESPONSE:

RH!UEST FOR PRODUCTION NO. 79: Any and all reports, documents or correspondence
containing names of designated individuals who gave testimony as Person Most Knowledgeable

for claims, property damage, hurricane damage, catastrophe, hail damage, water damage, roof
damage, andlor wind damage claims for 2000 through the present, along with a list of the

lawsuits where testimony was given
RESPONSE:

REOUEST FOR PROI)UC'I`ION NO. 80: Any and all training manuals used by vendors to
train their adjusters on property damage, hurricane damage, hail damage, water damage, roof

damage, and)' or wind damage for Defendant This request is limited to the last five (5) years.
RESPONSE:

RE§ !UE ST FOR PRODUCTION NO. 81: Any and all correspondence from Defendant to and

from vendors regarding any instructions, procedures, changes, training, payments, and billing for
property damage, hurricane, flood, wind, hail and catastrophe claims for 2000 through the
present, including but not limited to computer disks, e-mails, paperwork, and manuals
RESPONSE:

RMZUEST FOR PRODUCTION NO. 82: Any and all correspondence concerning issues with
billing and claims handling with Defendant’s vendors, andfor independent adjusting companies

This request is limited to the last five (5) years.
RESPONSE:

REOUEST FOR PRODUCTION NO. 83: Any and all demand letters, lawsuits and!or

subrogation claims filed against any of Defendant’s vendors, or by any vendors against
Defendant This request is limited to the last five (5) years.
RESPONSE:

RMUEST FOR PROI)UCTION NO. 84: Any and all reports, documents or correspondence
containing lists of attendees, dates, and locations of all meetings conducted by Defendant for all

independent adjusters and Defendant’s staff for property damage claims, hurricane damage
claims, flood damage claims, wind damage claims, hail damage claims, water damage claims,
and!or roof damage claims training This request is limited to the last five (5) years

 

PLAINTIFF S’ FIRS']_` REQUEST FOR PROl')UCTIONl PAGE -32-

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RESPONSE:

RH !UEST FOR PRODUCTION NO. 85: Any and all reports, documents or correspondence

containing lists of files with written complaints or DOI complaints on property damage,
hurricane damage, wind damage, hail damage, water damage, and!or roof damage claims
previously gather and produced in earlier complaints or lawsuits This request is limited to the
last five (5) years.

RESPONSE:

REQUEST FOR PRODUCTION NO. 86: Any and all reports, documents or correspondence
containing lists of all lawsuits or disputes filed against Defendant or its entities or affiliates

nationwide containing an element of property damage, hurricane damage, hail damage, water
damage, roof damage, andtor wind damage for 2000 through present
RESPONSE:

RMUEST FOR PRODUCTION NO. 87: Copies of the front and back of each negotiated

check made payable to solely or oo-payable to Plaintiff under Plaintiff’s insurance policy in

effect during the time of the insurance claim(s) made the basis of this lawsuit, and which was
issued by Defendantl

RESPONSE:
WW Copies of the front and back of each negotiated

check made payable solely or co-payable to Plaintiff regarding the insurance claim made the
basis of this lawsuit

RESPONSE:

REOUEST FOR PRODUCTION NO. 33 Studies commissioned by Defendant, including any
done by a law firm to analyze its claim management strategies, and!or to help it improve
corporate profits.

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REQUEST FOR PRODUCTION NO. 90: Affidavits or depositions of the employee(s) who

handled Plaintiff`s’ claim(s), or their supervisors, in all other cases involving the same or similar
allegations in this case.
RESPONSE:

BUEST I"OR PROI)UCTION NO. 91; The entire underwritcr’s file for underwriting the

insurance policy made the basis of this lawsuit
RESPONSE:

REOUEST FOR PRODUCTION NO. 9_2_: All notes, reports, documents, or applications
created and)’or generated by Defendant’s underwriting department relating to the insurance
policy made the basis of this lawsuit

RESPONSE:

REQUEST FOR PRODUCTION NO. 93: Please produce your Claims Service record related
to the claim(s) that form(s) the basis of this lawsuitl

RESPONSE:

 

PLAINTIE`FS’ FIRST REQUEST FOR PRODUCTION PAGE -33-

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RM!UEST FOR PRODUCTION NO. 94: Please produce your Activity Log related to the

claim that forms the basis of this lawsuit
RESPONSE:

REQUEST FOR PRODUCTION NO. 95: Please produce your claims manual that applies or
applied to this claim up to the time that you received a demand letter from Plaintiffs or were
served with the Petition in this case.

RESPONSE:

RE§!UEST FOR PRODUCTION N(). 96: Produce all reinsurance treaties that potentially

apply to the insurance policy in related to the claim, whether or not you have or will notify the
reinsurer of the claim.

RESPONSE:

 

PLAINTI'FFS’ FIRST REQUEST FOR PRODUCTION PAGE -34-

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PLAINTIFFS' FIRST ssr or INTERROGATORIES
'ro DEFEN uAiv'r, occrosn'rar, rnur a cAsUAL'rY coMPANY or NORTH
BLW_A

TO: OCCIDENTAL FlRE &, CASUALTY COMPANY OF NORTH CAROLINA, Defendant

COME NOW, QURBAN MOMIN and YASMIN MOMIN, Plajntifl`s in the above styled
and numbered cause, and requires that OCCIDENTAL FlRE & CASUALTY COMPANY OF
NORTH CAROI_.INA, Defendant, answer the following interrogatories under the provisions of
Rule 19‘7r of the Texas Rules of Civil Procedure, and Plaintitfs requires that answers to same be

served upon the THE CORONA LAW FIRM, PLLC no later than fifty (50) days after the date of
the service hereof

Respectfully submitted,

THE CORONA LAW FIRM, PLLC

By: fsi`Jesse S. Corona

Jesse S. Corona

Texas Bar No. 24032184

Southem District Bar No. 223 9270
1280? Haynes Road, Bldg E
Houston, Texas 77066

Office: 281.882.3531

Facsimile: 713.673.0613
Jesse@theCoronaLawfinn.com

ATTORNEY FOR PLAINTIFFS

IN STRUCTIONS AND I)EFINITIONS

1. The undersigned party propounds the attached questions to you under the
provisions of Rule 197 of the Texas Rules of Civil Procedure. These questions are being served
on your attorney and answers to the lnterrogatories should, to the extent possible, be answered in
the spaces provided', and if additional space is needed, please use additional sheets or the back of
the preceding page. You are notified that this party specifies that the answers shall be filed and
served upon the undersigned on or before the expiration of` thirty (30) days from the date ot` the
service of these questions', and the questions and your sworn answers may be offered in evidence
at the trial of this lawsuit

2. ln answering these questions, please furnish all information available to you,
including information in the possession of your attorney, or its investigators, and all persons
acting in your behalf, and not merely such information known of your own personal knowledgel
If you cannot answer the Interrogatory in full after exercising due diligence to secure the

information, so state in your answer and, to the extent possible, answer stating whatever
information or knowledge you have.

 

PLAINT]FFS’ FIRST SET OF INT`ERROGATORTES PAGE -35-

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3. ln each question wherein you are asked to identify a person, please state with
respect to such person his full name, last known address and home telephone number. If the
person to be identified is not a natural person (e.g. a corporation) give its name and address and
principal business activity.

4. In those instances where you choose to answer an Inteirogatory for information
by referring to a specific document or record, it is requested that such specification be in such
sufficient detail to permit the requesting party to locate and identify the records and!or
documents from which the answer can be ascertained

5. To the extent any Interrogatory is objected to, please set forth the complete basis
for the objection If you object to only a portion of a particular Interrogatory, specifically
identify the portion of the Interrogatory to which you are objecting and answer the remainder
completely. It` you claim privileges as grounds for not answering any Interrogatory in whole or
in part, state the privilege you are asserting, describe the factual basis for your claim of privilege,
including relevant dates and persons involved, in sufficient detail so as to permit the court to
adjudicate the validity of the assertion, and please state whether information andfor documents
are being withheld pursuant to the assertion of an objectionfclaim of privilege

6. Under Rule 193, an objection that an interrogatory or request for production is
overly broad or exceeds the scope of permissible discovery does not relieve you of the duty to
respond to that portion which is not subject to the objection If you make any such obj ection, you
are requested to specifically state what limitations you claim should be made on the request or
interrogatory, and to make that portion of the discovery, which is not subject to such limitations

The following terms shall have the meaning indicated below.

a. “Person” means natural persons, corporations, partnerships, sole proprietorships,
unions, associations, or any other kind of entity or its agents, servants and employeesl

b. “Document” means any printed, typewritten, mechanically or otherwise recorded
matter of whatever character including but not without limitation, letters, purchase
orders, memoranda telegrams, notes, catalogues, brochures, diaries, reports,
calendars, inter- and intra-office communications, statement, investigative reports,
announcements, depositions, answers to interrogatories, pleadings, judgments,
newspaper articles, photographs, tape recordings, motion pictures and any carbon or
photographic copies of any such material if you do not have custody or control of the
original', and anything else in writing. If any document requested to be identified
was, but is no longer in your possession or control or is no longer in existence, state
whether it is (1) missing or lost; (2) destroyed; (3) transferred voluntarily or
involuntarily to others, and if so, to whorn, or (4) otherwise disposed of, and in each
instance explain the circumstances surrounding an authorization of such disposition
thereof, state the approximate date thereof and describe its contents.

c. “You” and “Your” shall mean the party to whom these questions are directed as well
as agents, employees, attorneys, investigators and all other persons acting for said
party.

d. “Misconduct” is defined as an activity, act, or omission to act which result in a breach
of warranty, express of implied, violation of any statute, regulation, or industry
standard, whether relating to safety or otherwise, or a breach of any duty of any care.

e. “Plaintiff” is defined as the party who is propounding these lnterrogatoiies to you and
any of its agents, servants or employeesl

 

PLAINTTFFS’ FIRST SE'I` OF ENTERROGATORIES PAGE -36-

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f. “Occurrence, collision,” “incident” andfor “wreck” andfor the phrase “collision
made the basis of this suit” shall mean the accident, event or happening as set forth in
the Plaintift’s petition complaint that has given rise to this lawsuit.

g. When asked to “describe” a document, state the title, subject matter, author, date,
addressee, file designation and other identifying designation and the present locations
and custodian of the document

h. The term “statement” includes any written statements signed or otherwise adopted or
approved by the person making it, and any stenographic, mechanical, electrical,
magnetic, or other recording, or a transcription thereof, which is a substantially
verbatim recital of an oral statement by the person making it and contemporaneously
recorded, or statements as are defined in Texas Rule of Civil Procedure 192.3(h).

i. “Mobile device” means cellular telephone, smartphone, satellite telephone, pager,
personal digital assistant (“PDA”), iPad, Google Tablet or any such similar device.

j. As used herein, the term “infor.tnation” should be construed in the broad sense. It
includes reference to both facts and applicable principles This word should not be
construed to be limited by any method of acquisition or compilation and, therefore,
includes oral information as well as documentsl

k. As used herein, the terms “identify” and!or “identity” mean to provide the following:
(l) With regard to natural persons, state the name, last known telephone number and
last known address of the person', the name, address and telephone number of the
employer ofsuch person', if "you" have a business relationship, direct or indirect with
such person, or his employer, state the nature of such business relationship; (2)
With respect to any entity, which is not a natural person, state the name, telephone
number and last known address of such entity', state the nature of such entity', and if
“You" have any business relationship with such entity, either direct or indirect, state
the nature of such relationship

l. The term “communication” means any oral or written utterance, notation, or
statement of any nature whatsoever, by and to whomsoever made, including,
correspondence, conversations, dialogues, discussions, interviews, consultations,
agreements, and other understandings, among two or more persons.

m. The term “or” and the term “and” means the term both “or” and “and” in both
conjunctive and disjunctive.

n. The term of any singular form of a term shall include the plural, and the use of a
plural form of a term shall include the singular.

RQQ' UEST FOR PRIVILEGE LOG

7. With respect to any documents or information claimed to be privileged and
therefore exempt from discovery, request is hereby made that you produce a privilege log in
compliance with the Texas Rules of Civil Procedure within 15 days of service of your responses

DUTY TO SUPPLEMENT RESPON SES

8. Please be further advised that pursuant to RuIe 193.5 of the Texas Rules of Civil
Procedure, you have a duty to supplement your answers to these Interrogatories reasonably
promptly after you discover the necessity of supplementation Such supplemental responses are
to be filed and served upon this party immediately upon receipt of such information Pursuant to
Rulc 193.6 of the Texas Rules of Civil Procedure_. should you fail to properly supplement your

 

PLAINTIE'FS’ FIRS'f SE'I` OF ]NTF,RROGATORIES PAGE -37-

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answers, the Court may forbid you from introducing into evidence the material or information
that was not timely disclosed, or from offering testimony of a witness who was not timely
identified If individuals with knowledge of relevant facts come to your attention after serving
answers to these Interrogatories, or if any such individuals, employees, or agents of the
Defendant change employment or move before trial, Plainti.tf requests that to be timely informed
of such developments

FIRST SET OF INTERROGATORIES

INTERROGATORY NO. l: State the name, address, telephone number, and position or job
title of all persons answering these interro gatories.
ANSWER:

 

INTERROGATORY NO. § State whether Defendant contends that any conditions precedent
to Plaintiffs’ recovery has not been met, whether said conditions be stated in the insurance policy

or required by law. If so, state what conditions have not been met.
ANSWER:

IN'I'ERROGATORY NO. 3: List the date(s) Defendant requested that Plaintifl"s provide any
named Defendant(s) in this cause of action with requested information that was required in order
to properly evaluate Plaintiffs’ claim(s).

AESWER:

IN'I`ERROGATORY NO. 42 Please state the following concerning notice of claim and timing
of payment (a) the date and manner in which Defendant received notice of the claim', (b) the
date and manner in which Defendant acknowledged receipt of the claim; (c) the date and manner
in which Defendant commenced investigation of the clairn; (d) the date and manner in which
Defendant requested from the claimant all items, statements, and forms that Defendant
reasonably believed, at the time, would be required from the claimant', and (e) the date and
manner in which Defendant notified the claimant in writing of the acceptance or rejection of` the
claim.

ANSWER:

INTERROGATORY NO. S: State whether Defendant contends that Plaintiffs did not provide
any named Defendant(s) in this cause of action with requested information that was required in
order to properly evaluate Plaintiffs’ claim(s). If so, state what information was requested and
not provided, and the dates of the requestsl

M.=.

INTERROGATORY NO. 6: State the name, address, telephone number, and job title or
position of all persons who issued, adjusted, investigated, reviewed, handled, made entries, made
decisions, or exchanged any documents or communications, including electronic, regarding
Plaintifl`s’ insurance policy or the claim(s) made the basis of this lawsuit, including the name,
address, and telephone number of the supervisor identified person. For any such person who is

no longer an einployee, agent, or representative of any defendant, please so indicate and provide
the person’s last known address and telephone number.
ANSWER:

 

PLAINT]:FFS’ FlRS'l` SET OF l_NTERROGATORIES PAGE -38-

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INTERROGA'I`ORY NO. 7: State ever basis, in fact and in the terms of Plaintiffs’ policy, for
Defendant’s denial or payment andfor recommendation of denial or payment of Plaintif`fs’
claims.

ANSWER:

INTERROGATORY NO. 8: State every basis, in fact and in the terms of Plaintiffs’ policy, for
Defendant’s failure to pay the Plaintiffs’ full claims
ANSWER:

INTERROGATORY NO. 9: State the cause number, style, and court for each lawsuit filed
against Defendant in the last five years alleging misconduct, improper claims handling, bad faith,
violations of Texas lnsurance Code § 541.060, formerly known as Article 21.21, or violations of
Texas lnsurance Code § 542.055, et seq., formerly known as Article 21.55, in the handling of

first party claims for property damage coverage under homeowner insurance policies.
ANSWER:

INTERROGATORY NO. 10: State the legal theories and describe the factual basis, for your
Contention that Defendant fully complied with each of the claims handling requirements Codi.fied
in Texas lnsurance Code § 541.060, the violation of which is alleged in Plaintiffs’ current live
pleading against Defendant.

ANSWER:

INTERROGATORY NO. 11: State the legal theories and describe the factual basis for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code § 542.055, in that Defendant followed all statutory deadlines, and by no later
than the 15th day of notice of the claim in the event of a weather-related catastrophe or major
natural disaster, as defined by the commissioner, the claim-handling deadlines under this
subchapter are extended for an additional 15 days acknowledged receipt of the claim,
commenced investigation of the claim, and requested any proper documents from Plaintiffs’
reasonably believed necessary to conduct such investigation, made additional requests during the
investigation as necessary, and if acknowledged of receipt of the claim was not in writing, made

record of the date, manner and content, as refuted in Plaintiffs’ current live pleading against
Defendant
ANSWER:

INTERROGATORY NO. 12: State the legal theories and describe the factual basis for your
contention that Defendant fully complied with each of the claims handling requirements codified
in Tex. Ins. Code § 542.056, in that Defendant followed all statutory deadlines by notifying
Plaintiffs’ in writing the acceptance or rejection of Plaintil"fs’ claim no later than the 15th
business day after receipt of any requested information from Plaintiffs’, in the event of a
weather-related catastrophe or major natural disaster, as defined by the commissioner, the claim-
handling deadlines under this subchapter are extended for an additional 15 days), including
stating the reason if rejected or explanation of why Defendant could not do so within that time,

as refuted in Plaintiffs’ current live pleading against Defendant
ANSWER:

INTERROGATORY NO. 132 State the legal theories and describe the factual basis for your
contention that Defendant fully complied with each of the claims handling requirements codified

 

PLATNTIFFS’ FIRST SET OF H\TTERROGATORTES PAGE -39-

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in Tex. lns. Code § 542.058, in that Defendant aher receiving all items, statements, and forms
reasonably requested and required under § 542.055, delays payment of the claim for a period
exceeding the period specified by other applicable statutes or, if other statutes do not specify a
period, for more than 60 days, the insurer shall pay damages and other items as provided by §
542.060, except where it is found as a result of arbitration or litigation that a claim received by
an insurer is invalid and should not be paid by the insurcr, receiving all necessary information,
Defendant did not delay in making payments for more than 60 days, as refuted in Plaintif`fs’
current live pleading against Defendant.

ANSWER:

INTERROGATORY NO. 14: State the name, address, and telephone number of each
policyholder who gave Defendant written notice, within the last five years, of a complaint about
Defendant’s handling of first party claims for property damage coverage under homeowner
insurance policies in Texas.

ANSWER:

INTERRGGATORY N(). 15: State the name, address, and telephone number of each
policyholder from whom Defendant recorded a complaint within the last five years, about
Defendant’s handling of first party claims for property damage coverage under homeowner
policies in Texas.

ANSWER:

INTERROGATORY NO. 16: For each complainant identified in the responses to
interrogatories 14 and 15, state whether any communication was exchanged between Defendant
and any Texas governmental regulatory agency regarding the complaint. If the response is yes,
for any such complainant, state the name of the agency, the names of all investigators, and the
names of all government representatives with whom Defendant communicated for purposes of
the investigation.

ANSWER:

INTERROGATORY NO. 172 For each investigation by a Texas governmental agency within
the last five years into Defendant’s practices when handling first party claims for property
damage coverage under homeowner!commercial policies, state the name of the agency, the
names of all investigators, and the names of all government representatives with whom

Defendant communicated for purposes of the investig;g,ationl
ANSWER:

INTERROGATORY NO. 18: Identify by name, address, and telephone number, all persons
andr'or entities that have filed property damage claims, hurricane damage claims, hail damage
claims, water damage claims, roof damage claims and/for wind damage claims with Defendant
that have been adjusted by any and all adjusters assigned to Plaintiffs’ claim made the basis of
this lawsuit, from the time of hiring through the present.

ANSWER:

INTERROGATORY NO. 19: Please state whether Defendant took, or is aware of the taking
of, a recorded statement and/or examination under oath of any representative, or agent of, or any
person employed by, Plaintiffs regarding the claim made the basis of this lawsuit. If a recorded
statement andfor examination under oath was taken, please state the date it was taken and the

 

PLAINT]IF'FS’ FlRS'I` SET O`F INTERROGATORIES PAGE -40-

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name of the person taking the statement Please also state whether the statement was transcribed,

where the statement is currently located, andr’or the last place Defendant saw a transcription of
same.

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INTERROGATORY NO. 20: Identify by name, address, and telephone number, all persons

and)'or entities, agency or agents, and brokers that have issued Plaintiffs’ policy.
ANSWER:

INTERROGATORY NO. 212 Identify by name, address, and telephone number, all persons
andfor entities, agency or agents, and brokers that prepared Plaintiffs’ Policy including the
Property made basis of the claim(s).

ANSWER:

IN'I`ERROGATORY NO. 22: Identify by name or company name, address, and telephone
number any engineer(s) andfor engineering company(s), used to evaluate Plaintiff`s’ claim(s), the
name(s) of each prior claim each such person(s) andtor company(s) worked for Defendant, the

date(s) of the reports, and the address of the Property for which the inspection was done.
ANSWER:

INTERROGATORY NO. § For each of the above listed engineer(s) or engineering
company(s), list the compensation received from Defendant for any services and work performed
in the last five years

ANSWER:

INTERROGATORY NO. 24: When was the date Defendant anticipated litigation?
ANSWER:

INTERROQATORY EO. 25: For each cf the above listed engineer(s) or engineering
company(s), list the compensation received from Defendant for any services and work performed

in the last five years.
ANSWER:

INTERROGATORY NO. 2__6_: Does Defendant claim that Plaintif`fs failed to mitigate their
damages? If so, describe how PlaintiHs failed to do so, identifying any resulting prejudice
caused to Defendant

ANSWER:

INTERROGATORY NO. 27: Describe how Defendant determined whether overhead and
profit (“O&P”) should be applied to the claim made the basis of this lawsuit, identifying the
criteria for that determination

ANSWER:

INTERROGATORY NO. 28: To the extent Defendant utilized an estimating software
program and modified the manufacturers settings with respect to Plaintiffs’ claim, identify those
modifications

ANSWER:

 

PLAINT]FF S’ FIRST SET OF I_NTERROGATORIES PAGE -4l-

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 43 of 63

INTERROGATORY NO. 29: Identify all price lists used to prepare all estimates on the claim
made the basis of this lawsuit, stating the manufacturer version, date and geographical area.
ANSWER:

 

PLAIN'I`]FFS’ FTRST SET OF H\ITERROGATORIES PAGE -42-

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 44 of 63

PLAINTIFFS’ FIRST RE UEST FOR ADMSSIONS
TO DEFENDANT. OCCII)EN'I`AL FIRE & CASUAL'I`Y COl\lPANY OF NORTH
CAROLINA

TO: OCCIDENTAL FIRE & CASUALTY COMPANY OF NORTH CAROLINA, Defendant

COME NGW, QURBAN MOMIN and YASMIN MOMIN, Plaintit`fs in the above styled
and numbered cause, and requires that OCCIDENTAL FlRE & CASUALTY COMPANY OF
NORTH CAROLINA, Defendarrt, answer the following Requests for Admissions, and Plaintilfs

requires that responses to same be served upon the undersigned no later than fifty (50) days after
the date of the service hereof

Respectfully submitted,

THE CORONA LAW FIRM, PLLC

By: fsi Jesse S. Corona

Jesse S. Corona

Texas Bar No. 24082184

Southem District Bar No. 2239270
12807 Haynes Road, Bldg E
Houston, Texas 77066

Ofiice: 281.882.3531

Facsimile: 713.678.0613
Jesse@theCoronaLawfirrn.com

ATTORNEY FOR PLAINTIFFS

FIRST REQUEST FOR ADN[[SSIONS
RM}UEST FOR ADMISSION NO. 1: Admit the Defendant’s principal place of business is

Texas.
ADMIT OR DENY:

REOUEST FOR AI)MISSION NO. g Admit the Defendant conducts the business of
insurance in Texas.

ADMI'I` OR DENY:

REOUEST FOR ADWSSION NO. 3: Admit the Defendant insured Plaintifi`s’ property
against wind and hail damage.
ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 4: Admit the Defendant has been reported to the Texas

Department of lnsurance for the mishandling of claims in the last five (5) years

 

PLAINTIF`F S’ FIRST RE.QUEST FOR ADMIS SIONS PAGE -43-

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 45 of 63

A])MIT OR DENY:

REOUEST FOR ADMISSION NO. 5: Admit the Plaintiffs’ property sustained wind damage
as a result of the windstor'm(s) that makes the basis of this lawsuitl
ADMIT OR DENY:

RE UEST FOR ADMISSION NO. 6: Admit the Plaintifl`s’ roof sustained wind damage as a
result of the windstorm(s) that makes the basis of` this lawsuit
ADl\d_lT OR DENY:

RE§!UEST FOR ADMISSION NO. 7 : Admit the windstorrn(s) created openings in Plaintiffs’
roof whereby water leaked into the interior of Plaintiffs’ home causing damage.

AI)MIT OR DENY:

RE§ !UEST FOR ADMISSION NO. 8: Admit the as a result of water leaking into Plaintifi`s’
home, Plaintiffs’ personal property was damaged

ADMIT OR DENY:

RHZUEST FOR ADMISSION NO. 9: Admit the exterior of Plaintiifs1 home sustained wind
damage as a result of the windstorm(s) that makes the basis of this lawsuit.

ADMIT OR DENY:

RM" !UEST FOR ADMISSION NO. 10: Admit the windstorm(s) that damaged Pla,intiffs’

property was a covered occurrence under Plaintiffs’ insurance policy with the Defendant
insurance company
ADMIT OR DENY:

REQUES'I` FOR ADMISSION NO. 11: Admit the Plaintiffs’ property sustained hail damage
as a result of the hailstonn(s) that makes the basis of this lawsuit,

ADMI'I` OR DENY:

R§! !UEST F()R ADN[ISSION N(). 12: Admit the Plaintifl`s’ roof sustained hail damage as a

result of the hailstorrn(s) that makes the basis of this lawsuit.
ADIW.IT OR DENY:

RE§!UEST FOR ADMISS[ON NO. 132 Admit the exterior of Plaintiffs’ home sustained hail
damage as a result of the hail storm(s).

ADMIT OR DENY:

RYUEST FOR ADMISSION NO. 14: Admit Plaintiffs’ personal property was damaged as a
result of the hailstorm(s).

ADMIT OR DENY:

REOUES'I` FOR ADMISSION NO. 152 Admit the hailstorm(s) that damaged Plaintiffs’

property was a covered occurrence under Plaintiffs’ insurance policy with the Defendant
insurance company.
ADMIT OR DENY:

 

PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS PAGE »44-

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 46 of 63

RE§ !UEST FOR ADMISSION NO. 162 Adrnit the Defendant improperly and unreasonany
adjusted Plaintiffs’ claim.

ADMIT OR DENY:

RE§!UEST FOR ADMISSION NO. 17 2 Admit the Defendant performed an outcome-oriented
investigation of Plaintiffs’ claim.

ADM]T OR DENY:

RE§!UEST FOR ADMISSION NO. 182 Admit the Defendant did not conduct a reasonable
investigation of Plaintiffs’ damage,
ADMIT OR DENY:

RE§!UEST FOR ADMlSSI()N NO. 192 Admit the Defendant has unreasonably delayed
payment to the Plaintiffs and failed to fairly settle Plaintiffs’ claim even though liability was

reasonably clear.
ADMIT OR DENY:

REQUEST FOR AI)MISSION NO. 202 Admit the Defendant was not open and honest in its
adjustment of Plaintiffs’ claim.

ADMIT OR DENY:

E S 0 ‘ Admit the Defendant failed to make an attempt to
settle Plaintiffs’ claim in a fair manner.

ADMIT ()R DENY:

RE§ !UE S'I` FOR ADMISSION N(). 222 Admit the Defendant misrepresented to Plaintiffs that
the damage to Plaintiffs’ Property was not covered under the Policy.

ADMIT OR DENY:

RMUEST FOR ADMISSION NO. 23: Admit the Defendant misrepresented to Plaintiffs that
the damage to Plaintiffs’ Property did not need to be replaced.

ADMIT OR DENY:

RE§!UEST FOR ADMISSION NO. 242 Admit the Defendant was aware that the damage to
Plaintiffs’ Property warranted replacement and not repair.

ADMIT OR DENY:

RE§ !UES'I` FOR ADMISSION NO. 252 Admit the Defendant took advantage of Plaintifl`s’
lack of knowledge and expertise

ADMIT OR DENY:

RE§ !UES'I` FOR ADMISSION NO. 262 Adrnit the Defendant engaged in false, misleading,
and deceptive acts or practices in the business of insurance in the handling of Plaintiffs’ claim.

ADMIT OR DENY:

REQUEST FOR ADMISSION NO. 272 Admit the Defendant made material false

representations andfor material false promises to Plaintiffs.

AQI\'IIT 03 DEE !:

 

PLAINTIFFS’ FIRST REQUEST FOR ADMISSIONS PAGE -45-

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 47 of 63

RM!UEST FOR ADMISSION NO. 282 Admit the Defendant intended that Plaintiffs would

rely on these false representations and upon which Plaintiffs did reasonably rely to its detrimentl
ADM]T OR DENY:

REQUEST FOR ADMISSION NO. 292 Adrnit the Defendant breached its insurance contract
with Plaintii`fs.

ADMIT OR DENY:

RE§ !UEST FOR ADMISSION NO. 302 Admit the Defendant failed to provide its adjuster
with policies, guidelines, and)‘or materials pertaining to the lawful handling of insurance claims

ADMIT OR DENY:

RMEUEST FOR ADMISSION NO. 312 Admit the Defendant purposely denied andf`or

underpaid Plaintill`s’ claim in order to continue making profit off of Plaintiffs.
ADMIT OR DENY:

REOUEST FOR ADMISSION NO. 32_: Admit the Defendant provides incentives and!or
bonuses to its adjusters for closing out claims without adequate payment
ADMIT OR DENY:

RE§!UEST FOR ADMISSION NO. 332 Admit the Defendant provided a bonus to its adjuster
in relation to Plaintiffs’ claim.

ADMIT OR DENY:

 

PLA.LNTIFFS’ FIRST REQUEST FOR ADMIS SIONS PAGE -46-

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 48 of 63

CERTIFICATE OF SERVICE

1 hereby certify that a true and correct copy of the foregoing Request for Disclosure,
Request for Production, P`irst Set of lnterrogatories, and Requests for Admissions has been
served upon Defendant by serving its Registered Agent at the same time Defendant was served

with a copy of Plaintiffs’ Original Petition.

 

CERTIFICATE OF SERVICE

By: /s/Jesse S. Corona
Jesse S. Corona

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couniy,kns,do hereby sanity that the foregoing
ls a truo. correct and felt copy ot the Ioltrumnt

herein set out as appears record la the Dlstrlct

Court of Fo nw

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PAGE -47-

Case 4:19-0\/- -01073 Documen l 3/22/19 in TXSD Page 49 of 63 F~, d
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aninoRaeaconfeLnimaM B°"°"°"“°§;Ta“ét’::’
Fort Bend County District C|erk F°jje‘;“gi°nj;t*§-Tem

301 Jackson, Richmond, TX 77469
Te|ephone; (281) 341-4509
Fax: <281) 341-4519

 

 

 

REQUEST FOR PROCESS
Ail sections must be completed for processing this requestl
Sectlon 1: _ _
Cause NO_ Date January 22, 2019
Sty|e:
Qurban Momin and Yasmin Momin
VS

0ccidenta| Fire & Casua|ty Cornpany of North Caro|ina

 

 

Sect|on 2:

Check Process Type:

I:l Citation |:] Precept to Serve l Notice of Hearing E Temporary Restraining Order
I:l App|ication for Protective Order/ Temporary (Ex Parte) Protective Order

I:\ Notice of Registration of Foreign Judgment i:i Citation by Posting

|:| Citation by Secretary of State [:l Citation by Commissioner of insurance

|:] Writ of |:| Other
ij Citation by Publication* - Newspaper:

 

 

* Ai| publications are Sent to; Fort Bend Herald 1902 Souti‘s Fourth Streei= Rosenberg TX ?'/'47“1 unless another
newspaper is specified ~ FBC Constabie will M serve within their jurisdiction

REQUEST FOR lSSUANCE OF SUBPOENA NIUST BE SUBM|TTED ON A
SUBPOENA APPL|LF|ON FORM

 

_
Sectlon 3:

Tit|e of Documenth|eading to be attached for service:
with Discovery.

P|aintiffs' Original Petition

 

 

Please prepare a citation for Del`endant, and e -i`l"le_l'ile stamped Citation to Plaintiii's’ counsel’s oi"lice

fonsemcr_hy_a_ndxate_mncess.semnlhank von

seama- P-_A___RT|ES TO BE SERVED (P|ease type_ or print):
Occidenta| Fire & Casua|ty Company of North Caro|ina, cfc CT Corporation System

 

 

‘I. Name:
Addres$; 1999 Bryan Street. Suite 900

 

 

City: Da"as State: Tean Zip: 75201“3136

 

 

2. Name:
Address:
City: State: Zip:

 

 

 

zofz "`, i"';`

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 50 of 63
3. Name:

Addrees:

City: State: Zip:
4. Name:

Address:

City: State: Zip:
5. Name:

Addrees:

City: State: Zip:

Section 5

Check Service Type*:

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|:| Certiiied Mai| |:\ Registered Mai| (Out of Country)
*Additional Fees Appiy

 

 

 

 

 

 

 

 

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Section 6 tONLY if Section 7 does not app|y}

Please Note: Our otTice w||| use the e-Service email address registered with the Texas State Bar.

Attomey Name: Jesse S. Corona
128 R d _
Address: 07 Hay“es 03 ,Bldg E

 

 

Houston S"°e"P'O'-|§§§as 77066

City State Zip

281-882-3531 TBN: 240821 84
Telephone No. Bar No_

m
Section 7 (_9_|1|,1 rf Section 5 does not apply}

 

 

Pro-Se Name:
Address:

 

 

StrchP. O_ Box

 

City State Zip
Te|ephone No. Emai| Address
Pro-se Service On|y:

l:l e-Service* |:l Mai|to Pro-se Party* |:| Hold forPick up

1 - - - . . , District Ciorii of Fort Bend
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instrument
a true, correct and full copy ot the
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Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 51 of 63

SERV|CE FEE NOT COLLECTED
BY D|STR|CT CLERK

THE STATE OF TEXAS
C|TAT|ON

TO: OCC|DENTAL FlRE 81 CASUALTY COMPANY OF NORTH CAROL|NA
REG|STERED AGENT CT CORPORAT|ON SYSTEMS
1999 BRYAN STREET SU|TE 900
DALLAS TX 75201-3136

NOT|CE:

You have been sued. You may employ an attemey. |f you or your attorney do not tile a written answer
with the clerk who issued this citation by 10:00 a.m. on Monday next following the expiration of twenty
days after you were served this citation and PLAINT|FFS‘ ORlGlNAL PETIT|ON filed on January 22,
2019, a defau|tjudgment may be taken against you.

The case is presently pending before the 240TH JL|D|C|AL DlSTR|CT COURT of Fort Bend County
sitting in Richmond, Texas. lt bears cause number 19-DCV-258995 and is styled:

QURBAN MCM|N, YASM|N MOM|N VS OCC|DENTAL FlRE & CASUALTY COMPANY OF NORTH
CAROL|NA

The name and address of the attorney for PLAINT|FF is:

JESSE S. CORONA

THE CORONA LAW FlRM PLLC
1280? HAYNES ROAD BLDG E
HOUSTON TX 77066
281-882-3531

The nature of the demands of said PLAlNT|FF is shown by a true and correct copy of the PLA|NT|FFS'
ORIGINAL PE`|'|T|ON accompanying this citation and made a part hereoi.

lf this Citation is not served, it shall be returned unserved issued under my hand and seal of said Coun,
at Richmond, Texas. on this the 30th day of January. 2019.

DISTRlCT CLERK BEVERLE¥ MCGREW WALKER
FORT BEND COUNTY, TEXAS

Phy[§ica| Address:
1422 Eugene i-ieimann Circ|e, Room 31004
Richmond, Texas 7?469

N|ai|ing Address:
301 Jackson

Richmondl Texas 77469

§ 1 COy
` `M'“‘”“..‘o)
By: M@WM£ w $ \Q¢\
Deputy District C|erk KATHER|NE CHAME *
Te|ephone: (281) 344-3959
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OR|GINAL

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 52 of 63

19-DCV-258995 240th .|udicial District Court
Qurban Momin, Yasmin Momin vs Occldenta| Fire & Casualty Company of North Carolina

OFFlCER'S OR AUTHOR|ZED PERSON’S RETURN

Came to hand on the day of . 20_. at o'c|ock _M.

Executed at , within the County of __
. al o'c|oci< _M* on the __ day of _
. 20_, by delivering to the within named

 

. in person, a true copy of this citation together
with the accompanying copy of the petition, having drst attached such copy of such petition to such copy
of citation and endorsed on such copy of citation the date of delivery.

Tolal fee for serving _ citation at $80.00 each $

 

Name cf Oflicer or Authorized Person

County, Texas

 

By:

 

Signature of Deputy or Authorized Person
*Stste day and hour and place of sewing each parson.

COMPLETE lF YOU ARE A PERSON OTHER THAN A SHER|FF. CONSTABLE. OR CLERK OF THE COURT.

|n accordance with Rule 1071 The oflicer or authorized person who serves or attempts to serve, a citation shall sign the relum. The
signature is not required to be verified |f the return is signed by a person other than a sheriff. oonstab|e, or the clerk cl the ccurt.
the return shall be signed under penalty of perjury and contain the following statement

“My name is

 

(First, Midd|e, Last)

my date of birth is and my address is

 

 

(Street, Cily, Zip]

 

l DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGO|NG |S TRUE AND CORRECT.

Executed in County, State of . on the

day of

 

 

Dec|arant l Authorized Process Server

 

(|d # & expiration of cerlilication)

ORlGlNAl.

Citation (Origina| Petition) issued to Occidenta| Fire & Casua|ty Company of North Carolina on
1/30/2019.

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 53 of 63

SERV|CE FEE NOT COLLECTED
BY D|STR|CT CLERK THE sTATE oF Texas

C|TAT|ON

TO: OCC|DENTAL FlRE 8\ CASLIALTY' COMPANY OF NORTH CAROL|NA
REG|STERED AG ENT CT CORPORAT|ON S¥STEMS
1999 BRYAN STREET SU|TE 900
DALLAS TX 75201-3136

NOT|CE:

You have been sued. You may employ an attomey. |f you or your attorney do not tile a written answer
with the clerk who issued this citation by 10:00 a.rn, on Monday next following the expiration of twenty
days after you were served this citation and PLA|NT|FFS' ORtG|NAL PET|T|ON filed on January 22,
2019, a default judgment may be taken against you.

The case is presently pending before the 240TH JUD|CIAL DlSTR|CT COURT of Fort Bend County
sitting in Richmond, Texas. lt bears cause number 19-DCV-258995 and is styled:

QURBAN MOM|N, YASM|N MOM|N VS OCC|DENTAL FlRE & CASUALTY COMPANY OF NORTH
CAROL|NA

The name and address of the attomey for PLAINT|FF is:

JESSE S. CORONA

THE CORONA LAW F|RM PLLC
12807 HAYNES ROAD BLDG E
HOUSTON TX 77066

281 -882-3531

The nature of the demands of said PLAlNT|FF is shown by a true and correct copy of the PLA|NT|FFS'
ORIGINAL PET|T|ON accompanying this citation and made a part hereof.

|f this Citation is not served. it shall be returned unserved. |ssued under my hand and seal of said Court.
at Richmond, Texas, on this the 30th day of January, 2019.

DISTR|CT CLERK BEVERLEY MCGREW WALKER
FORT BEND COUNTY, TEXAS

Ph§ica| Address:

1422 Eugene Heimann Circie. Room 31004
Riohmond, Texas 77469
Mai|ing Address:

301 Jackson

Richmond, Texas 77469

Deputy District C|erk KATHER|NE CHAMB
Te|ephone: (281) 344-3959

 

SE RV|CE

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 54 of 63

19-DCV-258995 240th Judicia| District Court
Qurban Momin, Yasmin Momin vs Occidentai Fire & Casua|ty Company of North Carolina

OFFlCER'S OR AUTHOR|ZED PERSON'S RETURN

Came to hand on the day of , 20_, at _ o'c|ock __M.
Executed at . within the Cou nty of _

. at o’ciock __M* on the day of _
. 20_. by delivering to the within named

 

. in person, a true copy of this citation together
with the accompanying copy of the petition, having first attached such copy of such petition to such copy
of citation and endorsed on such copy of citation the date of delivery.

Tota| fee for serving _ citation at $80.00 each $

 

Name of Offlcer or Authorized Person

County, Texas

 

By:

 

Signature of Deputy or Authorized Person
"Stete day and hour and place of serving each person.

0 LETE |F Y U ARE A RSON OTH THAN A lFF C TAB E LERK TH C RT.
|n accordance with Rule 10?: The officer or authorized person who serves, or attempts to serve, a citation shall sign the retum. The
signature is not required to be verified. if the return is signed by a person other than a sheriff. oonstab|s. or the clerk ot the court.
the retum shall be signed under penalty of perjury and contain the following statement

"My name is

 

(First, Middle, Last)

my date of birth is , and my address is

 

(Street. City, Zip)

 

l DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGO|NG IS TRUE AND CORRECT.

Executed in County, State of . on the
day of

 

 

Dec|arant iAuthorized Process Server

 

(|d # & expiration of certilication)

ll BEVEH,EYMDGHEWWM,KEH, District Clerii of Fort Bend

County.Texas,do hereby certify that the torsgoing

ls a trus, correct and tull copy of the instrument

herein set out as appear of reco d in the District
Bend

SERV|CE

 

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 55 of 63

Fiied

2i27i2019 12:21 PM
Beverley McGrew Wa|ker

District C|erk

Fort Bend County‘ Texas

Katherins Chambers

SERVICE FEE NOT COLLECTED
BY DIS`I'R|CT CLERK

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Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 56 of 63

RETURN OF SERV}CF.
SERVICE ON REG|S'|`ERBD AGEN'I` ORGANIZATION

Cch Name: QURBAN MOMIN, F.'TAL !§ GCCIDENTAL FlRE d CASUALTY COMPANY [}F NORTH CAROLINA

Cause Number: l9-DCV-258995 Court: 240Lh District Court of Fort Bend County, Texas
i . [xae&`l'ereofw`eitof$pedied
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flauman Febrnary 20, 2019 at12:25 p.m.
3. Dcfendanr_' Oecidmtal Fire & Caeuaity Compan_v of North Carottaa
d. Defendanr’s Registered Agcnt: C'I' Corporatioo Syet:ems
.'i. Defendanl:’s Registered Ot'fice: 1999 Bryan Streel, Suite 900, Dallas, Texas 7521}1-3136
6. ltcgistered Agent’s Employce: Terri A. Thn¢igsaval
?. Specified Docurncnts: A true copy of the C`l¢ation with date of delivery endorsed

thereon, with a copy of the Plaintiit‘s Driginal Petition. Plaintiff’s Requests
for Dlsclosure, Plalntiff's First Requm for Production, l’laintiffs First Set
of lnrerrogatorles, Plaiatil'l"s First Request l’or Ad missions attached thereto.

li_ Method of Scr'vico: by delivering to Defendant, by delivering to Defendaul‘s
Registcred Agcnr. by delivering lottie ngistered Agent's
Empioyee, in person, at Defendant’s Registered 0ftice.

l am certified under order ofTeiras Supreme (‘.ourt rn serve process including citations `m Texas | am not a perry to or interested in
thc outcome of this suit. My identification number and certification expiration date appear below. l received and delivered the
Specif'ied Documcntsto Defendant as stated above Ali summcnts made herein erc true. This return is vertical or is signed under
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Signaturc: w____,____,_My,m______,,___“__‘__ , ____________ i&nnplmifsisn¢d beforeaNowryl

brewers Pfil'lt Name:___,_.,.

identification Number:

 

Certificetion Expires:

 

Signed and sworn to by the said ______“_P___,______` _“__m__________“_ before me on____________ `_ __ _ _. 20`___ g
to certify which witness my hand and seal ofofiice.

NotaryPubll-c"l"r;the State ochxas

[Complete if not signed before a Notar¥l]BBtEm-E¥MCGHEWWM chimel clark m F°n send
Counry.'l'e:ae,do hereby certify that the foregoing

 

    

My f`utl name is: Meiisse Kay Pera. My date of birth is:_ iisaraeifnm:e't :Tir;:cst ;l:e:‘rl;| §Ioi?syc:r'd‘?r: §:ttrllil:t.d::
city address is: P.o. sort 21, md oak, rem 75154; united states ::,:n :-! Wd|:n; f Q/j/' 20 t/?;
My server identification number: PSC 1341 My certification expires: 7-3|-2020. fire co"?_l»j -_. ' -, -l .

l declare under penalty of perjury that the foregoingo including the Retum of Srn'vice, is true and coue§ii_=.'.j§?

Exccuted in E|tis Cou'nty, Texas, U,S.A., on 2-20-1.'}.

Deciarant gradual

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 57 of 63 F_£ed

3118,"2019 9:06 AN|
Beverley MeGrew Wa|lter
District C|erk
Fort Bend Couniy. Texas
Katherlne Chambers

CAUSE NO. lQ-DCV-258995

QURBAN MOM[N, YASMI`N MOMIN IN THE DISTRICT COURT OF

V. FORT BEND COUNTY, TEXAS
OCCIDENTAL FlRE & CASUALTY

COl\/[PANY OF NORTH CAROL[NA 240TH JUDICAL DISTRICT

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DEFENDANT OCCIDENTAL FIRE AND CASUALTY COMPANY OF NORTH
CAROLINA’S ORIGINAL ANSWER

 

TO THE HONORABLE JUDGE OF SAID COURT:

COMES NOW, OCC[DENTAL FlRE AND CASUALTY COMPANY OF NORTH
CAROLINA, Defendant in the above-styled and numbered cause and makes and files this, its
Original Answcr and in reply to Plaintitt`s’ Petition, and for such answer and would respectfully
show unto the Court the following:

l.

Pursuant to Rule 92 of the Texas Rules of Civil Procedure, Defendant generally denies the
allegations contained within Plaintiffs’ Pctition and demand strict proof thereon by a preponderance
of the credible evidence in accordance with the laws of the State ofTexas.

2.

Plcading further and without waiver of the abovc, Defendant denies the occurrence of all
conditions precedent to Plaintif`f`s’ claim. Without limiting the foregoing Defendant denies that
there has been full compliance with all terms and conditions of the insurance policy at issue as
required prior to Plaintift`s bringing suit, including, but not limited to, thc requirement that payment

is only due after agreement is reached on the amount of loss or an appraisal award has been madc.

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3.

Pleading further and without waiver of the above, Defendant requests that this Court
compel mediation pursuant to TEXAS INSURANCE CODE § 541 . 161 (a). This mediation is required
under the Texas lnsurance Code and Texas Business & Commerce Code. TEX. INS. CODE
§ 541_161(b).

4.

Additionally, the insurance policy pertaining to the claims asserted by the Plaintiffs
includes a specific “Appraisal” clause which sets forth the procedure in the event of a disagreement
of the amount of the loss. Specifically, the policy requires that, upon written request, the property
must be appraised by each party’s own independent appraiser. In the event of a disagreement in
the appraisal, the differences are submitted to an umpire for determination Defendant insurance
company was potentially deprived of the opportunity to invoke the appraisal clause prior to suit.
Further, the lawsuit potentially prevented Defendant insurance company from attempting to
resolve the alleged problems, reaching an impasse or invoking the appraisal clause, if` necessary
Defendant insurance company reserves the contractual right to invoke this clause and that the
property be appraised according to the terms of the applicable insurance policy if the parties reach

an impasse. Defendant insurance company has not waived and is not waiving this provision and

may assert it in the future.
5.
Pursuant to Rule 193.'}’ of the Texas Rules of Civil Procedure, Defendant hereby gives
actual notice to Plaintif`fs that any and all documents and materials produced in response to written
discovery may be used as evidence in this case; and, that any such materials may be used as

evidence against the party producing the document at any pretrial proceeding and/'or at the trial of

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this matter without the necessity of authenticating the document and/or materials produced in

discovery
6.

Requests for Disclosure
At the time required by law or the Rules, these Defendant request the Plaintii‘fs to respond

to all of the matters in TRCP 194.2.

WHEREFORE, PREMISES CONSIDERED, Defendant prays that upon final hearing
hereof, that Plaintiii`s not recover against Defendant and that Defendant goes hence with its costs
without day and for such other and further relief, at law or in equity, to which Defendant may

justly show itself entitled to receive

Respectfully submitted,

Gault, Nye & Quintana, L.L.P.
P.O. Box 6666

Corpus Christi, Texas ?8466
(361) 654-7003

(361) 654-7001 Telecopier

mwest@gnglawyers.com

By: /s/Mikel! A. West
Mikell A. West
State Bar No. 24070832

Attomey for Defendant Occidental Fire and
Casualty Company of North Carolina

MOMIN:'OFCC DOA - PAGEJ OF 4

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 60 of 63

CERT!FICATE OF SERVICE

I, Mikell A. West, hereby certify that on the 18"‘ day of March 2019, a true and correct
copy of the above and foregoing document was served upon the following counsel as indicated:

Attorney for Plai'ntifzs

J esse S. Corona
The Corona Law Firm, PLLC
Email: Jesse@t_heCoronaLawfirm.com

VIA E-FILING

/s/ Mikefl A. West
Mikell A. West

t. BEVERLEY llo@n§\tm Dlstrlet Clorl¢ of Fort Bend
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is a true correct and full copy pt tln instrument

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Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 61 of 63
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Beverlay McGrew Wa|ker
District C|erk
Fort Bend County, Texas
Katherine Chambers

CAUSE NO. ]9~DCV-258995

QURBAN MOMIN, YASM[N MOMIN IN THE DISTRICT COURT OF
V. FORT BEND COUNTY, TEXAS

OCClDENTAL F[RE & CASUALTY
COMPANY OF NORTH CAROLINA

240"m JUDICAL DISTRICT

DEFENDANT’S DEMAND FOR .]URY
COMES NOW, OCC]DENTAL F[RE & CASUALTY COMPANY OF NORTH
CAROLINA, Defendant in the above-referenced cause, and demands a trial by jury. Thejury fee has

previously been paid by the Plaintiffs.

Respect{hlly submitted,

Gault, Nye & Quintana, L.L.P.
P.O. Box 6666

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(361) 654-7001 Telecopier

mwest@ggqlawyers.com

By: /s/ Mt`kell A. West
Mikeil A. West
State Bar No. 240?0832

ATroRNEY FoR DI~:FENDANT OCCIDENTAL FlRE &
CASUALTY CoMPANY oF NoRTH CAROLiNA

 

Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 62 of 63

CERTIFICA'I`E OF SERVICE

I, Mikell A. West, hereby certify that on the 18th day of March 2019, a true and correct copy
of the above and foregoing document was served upon the following counsel as indicated:

A£torn or Pr'ar'nti s
Jesse S. Corona
The Corona Law Firm, PLLC

Email: Jesse{e,theCoronaLawtirm.com

VIA E-FlLING

_/_s/Mr'keii A. West
Mikell A. West

 

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Case 4:19-cV-01073 Document 1-2 Filed on 03/22/19 in TXSD Page 63 of 63

 

 

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Bavarlay McGrew Watkar
District Clerk
GAUL T NYE & QUINTANA L L m ad
3 ’ ' ' .James Bumett
4141 S. STAPLr¢s S'r., Surrs 210
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Bonrto CER'nFIaD
Ctvlt. AFPsLuma law
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March l 9, 2019

Records Department

Fort Bend County Courthouse
301 Jacl<son St.

Richmond TX 7?469

VIA E-FILE

Re: Cause No. lQ-DCV-258995; Qurban Momin, Yasmz’n Momi'n v. Occidental Fire &

Casua!rj) Company of North Caroh'na, In the 240th District Court, Fort Bend County,
Texas

Dear Sir/Madam,

Please allow this letter to serve as a formal re
District Couxt’s tile in the above-referenced cas
below listed address. The $47.00 fee to obtain t

quest for the certified copy of the Fort Bend County
e. Please send this certified copy (47 pages) to the
his copy has been paid at the time of this filing

ATTN: Zaida L. Villegas

GAqu, NYE & QUINTANA, LLP
4141 S. Staples St., Ste. 210
Corpus Christi TX 78411

 
    
 

 

Sincerely,
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P.O, Box 4200 s EDrNsuno, 78540 P.O. Box 5959 0 BRoszvrr.r.s, 78523
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